Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 1 of 127 PageID #: 672




                              Exhibit A
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 2 of 127 PageID #: 673




                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

    TROYCE MANASSA, individually and on
    behalf of all others similarly situated,

                       Plaintiff,

           v.
                                                             Case No. 1:20-cv-03172-RLY-MJD
    NATIONAL COLLEGIATE ATHLETIC
    ASSOCIATION,

                        Defendant.


                                     Declaration of Brian E. Casey

          I, Brian E. Casey, declare, pursuant to 28 U.S.C. §1746, under penalty of perjury that the

   following facts are true and correct:

          1.      I am a partner at Barnes & Thornburg LLP. I, along with members of my firm,

   represent the National Collegiate Athletic Association (the “NCAA”) in the above-referenced

   lawsuit. In that capacity, I have personal knowledge of the facts set forth in this declaration. I

   submit this declaration in support of the NCAA’s Motion to Disqualify FeganScott LLC as

   Counsel for Plaintiff (the “Motion”).

          2.      Elizabeth Fegan and her firm FeganScott LLC (“FeganScott”) are lead counsel for

   Plaintiff and the putative class members in this lawsuit, along with attorneys at the firm May

   Lightfoot PLLC.

          3.      Plaintiff served sixty comprehensive requests for production on the NCAA in this

   lawsuit, a true and correct copy of which are attached hereto as Exhibit 1.

          4.      The NCAA retained Proteus Discovery Group, LLC (“Proteus”) to assist the

   NCAA with e-discovery needs in this lawsuit, including items related to producing non-privileged

                                                   1
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 3 of 127 PageID #: 674




   documents responsive to the requests for production Plaintiff served on the NCAA (the “Manassa

   Project”).

          5.       In order to respond to the discovery served by Plaintiff, the NCAA collected a

   voluminous universe of data exceeding 250 GB, much of which includes non-public material, and

   sensitive material related to academics and student-athletes, and their personally identifiable

   information.

          6.       Given the volume of collected documents, the NCAA required the assistance of

   document review attorneys to conduct analysis and review among the universe of collected

   documents, for considerations related to document responsiveness, confidentiality, privilege, and

   issue coding.

          7.       Proteus, as the NCAA’s e-discovery vendor in this lawsuit, retained attorneys to

   assist in the review, analysis, and coding of NCAA documents. Ravi Sakthivel (“Sakthivel”) is an

   attorney that Proteus retained in March 2022, to perform document review and analysis work for

   the NCAA in this lawsuit.

          8.       Among other things, the NCAA’s counsel within my firm developed issue codes

   for document reviewers to analyze and use where applicable, concerning important case themes

   and defensive strategies reflecting the NCAA’s work product and general case strategy. The

   document review protocol provided to the attorneys that Proteus engaged to assist in the Manassa

   Project contained this and other privileged work-product information.

          9.       On or about April 22, 2022, Proteus informed my firm that it learned that day that

   Mr. Sakthivel appeared to be an attorney employed by Plaintiff’s counsel FeganScott. Upon receipt

   of this news, the NCAA’s counsel at Barnes & Thornburg promptly began to investigate this




                                                   2
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 4 of 127 PageID #: 675




      matter, and its conflict of interest implications. Prior to this date, my firm, and the NCAA had no

      knowledge of Mr. Sakthivel’s affiliation with FeganScott.

              10.         This lawsuit is not the first or only lawsuit that FeganScott has filed against the

      NCAA. FeganScott’s website has prominent postings regarding lawsuits filed by FeganScott

      against the NCAA, including but not limited to, true and correct copies of the postings shown in

      Exhibit 2 attached hereto, which are pdfs of true and correct copies of these various FeganScott

      webpages publicly available at the time of this filing: https://www.feganscott.com/hbcu-student-

      athletes/,             https://www.feganscott.com/,              https://www.feganscott.com/cases/ncaa/,

      https://www.feganscott.com/news/ncaa-argues-in-sex-abuse-case-it-has-no-legal-duty-to-protect-

      athletes/,    the     search   results   for   NCAA       on    FeganScott’s   website,   available   here

      https://www.feganscott.com/page/3/?s=ncaa,                     https://www.feganscott.com/cases/national-

      collegiate-athletic-association/, and https://www.feganscott.com/news/cbs-news-lawsuit-claims-

      ncaas-academic-policies-discriminate-against-hbcus-and-black-student-athletes/.

              11.         Based upon my firm’s reasonably diligent investigation of publicly available

      docket, FeganScott and/or Ms. Fegan have acted as Plaintiff’s counsel against the NCAA in at

      least 15 cases, listed below.

No.        Case                                                                 Affiliation with Fegan Scott or Ms.
                                                                                Fegan
      1.   Doe 1 et al v. National Collegiate Athletic Association et           FeganScott and Ms. Fegan as
           al, Docket No. 3:22-cv-01559 (N.D. Cal. Mar 11, 2022)                Plaintiff’s counsel
      2.   Erin Aldrich, et al v. NCAA, et al, Docket No. 21-03036              FeganScott and Ms. Fegan as
           (7th Cir. Nov 02, 2021)                                              Plaintiff’s counsel
      3.   Manassa et al v. National Collegiate Athletic Association            FeganScott and Ms. Fegan as
           et al, Docket No. 1:20-cv-03172 (S.D. Ind. Dec 10, 2020)             Plaintiff’s counsel
      4.   Aldrich et al v. National Collegiate Athletic Association et         FeganScott and Ms. Fegan as
           al, Docket No. 1:20-cv-02310 (S.D. Ind. Sep 08, 2020)                Plaintiff’s counsel
      5.   Aldrich et al v. National Collegiate Athletic Association et         FeganScott and Ms. Fegan as
           al, Docket No. 5:20-cv-01733 (N.D. Cal. Mar 11, 2020)                Plaintiff’s counsel
      6.   Peter Deppe v. NCAA, Docket No. 17-01711 (7th Cir. Apr               Ms. Fegan as Plaintiff’s counsel, while
           06, 2017)                                                            associated with the firm Hagens

                                                            3
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 5 of 127 PageID #: 676




                                                                       Berman Sobol Shapiro LLP (“Hagens
                                                                       Berman”)
   7.    Vassar v. National Collegiate Athletic Association,           Ms. Fegan as Plaintiff’s counsel, while
         Docket No. 1:16-cv-10590 (N.D. Ill. Nov 14, 2016)             associated with Hagens Berman
   8.    Deppe v. National Collegiate Athletic Association, Docket     Ms. Fegan as Plaintiff’s counsel, while
         No. 1:16-cv-00528 (S.D. Ind. Mar 08, 2016)                    associated with Hagens Berman
   9.    Pugh v. National Collegiate Athletic Association, Docket      Ms. Fegan as Plaintiff’s counsel, while
         No. 1:15-cv-01747 (S.D. Ind. Nov 5. 2015)                     associated with Hagens Berman
   10.   Tonn v. National Collegiate Athletic Association, Docket      Ms. Fegan as Plaintiff’s counsel, while
         No. 1:14-cv-01563 (N.D. Ill. Mar 5, 2014)                     associated with Hagens Berman
   11.   Walker et al v. National Collegiate Athletic Association,     Ms. Fegan as Plaintiff’s counsel, while
         Docket No. 1:13-cv-09117 (N.D. Ill. Dec 27, 2013)             associated with Hagens Berman
   12.   In Re: National Collegiate Athletic Association Student-      FeganScott and Ms. Fegan as
         Athlete Concussion Injury Litigation, Docket No. 1:13-cv-     Plaintiff’s counsel
         09116 (N.D. Ill. Dec 18, 2013)
   13.   Rock v. National Collegiate Athletic Association, Docket      Ms. Fegan as Plaintiff’s counsel, while
         No. 1:12-cv-01019 (S.D. InD. Jul 25, 2012)                    associated with Hagens Berman
   14.   Owens v. National Collegiate Atheltic Association,            Ms. Fegan as Plaintiff’s counsel, while
         Docket No. 1:11-cv-06816 (N.D. Ill. Sep 28, 2011)             associated with Hagens Berman
   15.   Arrington v. National Collegiate Athletic Association et      FeganScott and Ms. Fegan as
         al, Docket No. 1:11-cv-06356 (N.D. Ill. Sep 12, 2011)         Plaintiff’s counsel


            12.    On April 26, 2022, I sent a letter to Elizabeth Fegan of FeganScott, a true and

   correct copy of which is attached hereto as Exhibit 3. This letter attached as Exhibits A and B,

   true and correct copies of FeganScott’s website that identified Mr. Sakthivel as a FeganScott

   employee with over a decade of experience, and Mr. Sakthivel’s LinkedIn profile, both of which

   were publicly available at the time I sent this letter. These documents were located as part of my

   legal team’s investigation of this conflict of interest issue. The letter also asked FeganScott to

   withdraw as counsel for Plaintiff, due to the grave conflict of interest related to FeganScott and its

   attorney Mr. Sakthivel.

            13.    The NCAA has no knowledge of Mr. Sakthivel or anyone else on behalf of

   FeganScott ever requesting that the NCAA waive any conflict of interest. Further, the NCAA never

   consented in writing (or otherwise) to any FeganScott attorney performing work for the NCAA in

   any capacity, in this lawsuit or any other matter. Similarly, the NCAA never consented to Mr.

                                                     4
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 6 of 127 PageID #: 677




   Sakthivel or anyone else on behalf of FeganScott disclosing any information relating to the

   NCAA’s representation in the Manassa lawsuit.

          14.       Elizabeth Fegan responded to my letter on May 1, 2022, in her capacity as the

   Managing Member of FeganScott. A true and correct copy of the letter is attached hereto as

   Exhibit 4. Among other things, in this letter, Ms. Fegan: (a) confirmed that Mr. Sakthivel was a

   full-time FeganScott staff attorney the entire time that he worked as an NCAA document review

   attorney at Proteus in the Manassa Project, (b) confirmed that Ms. Fegan was actually Mr.

   Sakthivel’s direct supervisor, and (c) confirmed that as of April 2022, FeganScott was in the

   process of staffing Mr. Sakthivel on this lawsuit to work on Plaintiff’s behalf.

          15.       FeganScott has refused to withdraw as Plaintiff’s counsel in this lawsuit.

          16.       Attached hereto as Exhibit 5, is a true and correct copy of an April 26, 2022 letter

   that I sent to Mr. Sakthivel.

          17.       I understand that Mr. Sakthivel reviewed and coded at least 6,622 NCAA

   documents while working at Proteus for the NCAA in the Manassa Project. Several of these

   documents exceed 100 pages.

          18.       In an abundance of caution, the NCAA must expend reasonable attorneys’ fees,

   expenses, and time that attorneys on this file are not working on other aspects of this case on

   damage control, including investigating implications of a breach of confidentiality as to matters

   discussed herein, and review and quality checking of each document that reviewed or tagged by

   Mr. Sakthivel.

          19.       In connection with this Court’s Local Rule 7-1(g)(1)(A) and (C) and Local Rule 7-

   1(g)(2), I made reasonable efforts to confer with FeganScott to resolve the matters raised in the

   Motion prior to filing the Motion. On April 26, 2022 at 1:12 pm, I served the letter attached as



                                                     5
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 7 of 127 PageID #: 678




   Exhibit 3 to Ms. Fegan via email with copies to Plaintiffs’ counsel Je Yon Jung, LaRuby May,

   Brooke Achua, Melissa Clark, and the NCAA’s counsel Chisara Ezie-Boncoeur. This letter asked

   FeganScott to withdraw as counsel due to the conflict of interest related to Mr. Sakthivel, and

   informed FeganScott that the NCAA intended to request its attorneys’ fees incurred in connection

   with the conflict of interest issue. Ms. Fegan responded to my letter in the letter attached as Exhibit

   4 on May 1, 2022 at 6:33 pm 1 in an email that copied Tim Scott and Melissa Clark of FeganScott

   and declined to withdraw as counsel. The parties continued to discuss this matter at the joint

   telephonic discovery status conference before Judge Dinsmore on May 6, 2022 which was attended

   by Plaintiffs’ counsel Ms. Fegan, Ms. Jung, and Plaintiffs’ local counsel, and the NCAA’s counsel

   including myself, Ms. Ezie-Boncoeur, and Ms. Barrs. At this hearing, Judge Dinsmore briefly

   heard the parties’ positions about this conflict of interest and informed the NCAA that it should

   file a motion if it felt a need.

              I declare under penalty of perjury that the foregoing is true and correct.

   Executed on May 23, 2022.

                                                                   /s/ Brian E. Casey
                                                                   Brian E. Casey




   1
       Ms. Fegan’s letter is dated May 2, 2022 perhaps inadvertently. The letter was emailed on May 1, 2022.


                                                              6
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 8 of 127 PageID #: 679




                              Exhibit A
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 9 of 127 PageID #: 680




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                      INDIANAPOLIS DIVISION


    TROYCE MANASSA, et al.,

                    Plaintiffs,
                                                          No.: 1:20-cv-03172-RLY-MJD
                    v.

    NATIONAL COLLEGIATE
    ATHLETIC ASSOCIATION,

                   Defendant.


         PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
                NATIONAL COLLEGIATE ATHLETIC ASSOCIATION

          Pursuant to Fed. R. Civ. P. 26 and 34, Plaintiffs hereby request that defendant National

   Collegiate Athletic Association (“NCAA”) produce for inspection the documents and

   electronically-stored information requested herein within 30 days to the law offices of RileyCate,

   LLC, 11 Municipal Drive, Ste. 320, Fishers, IN 46038, in accordance with the definitions and

   instructions that follow.

                                             DEFINITIONS

          1.      “Action” means the above-captioned putative class action.

          2.      “NCAA” means Defendant National Collegiate Athletic Association and all of its

   present and former officers, directors, board members, committees, consultants, employees,

   divisions, member conferences, member institutions, agents, representatives, and all other persons

   acting, or purporting to act, on behalf of any of the foregoing.

          3.      “Communication” and “Communications” are used in a comprehensive sense, and

   mean and include every conceivable manner or means of disclosure, transfer, transmittal, or

   exchange of oral, written, electronic, or other information, in the form of facts, ideas, inquiries, or

   otherwise, between or among one or more persons or entities, and include, without limitation, all
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 10 of 127 PageID #:
                                     681



  documents, writings, correspondence, memoranda, messages, meetings, conversations,

  discussions, conferences, agreements, e-mails, or other transmittal of information, whether face-

  to-face, by telephone, by mail, by facsimile, by computer, or otherwise, and further include,

  without limitation, all forms of electronic communications and messages.

         4.       “Complaint” means the operative Complaint filed in the above-captioned putative

  class action.

         5.       “Document” is defined to be synonymous in meaning and equal in scope to the

  usage of this term in Fed. R. Civ. P. 34(a), including, without limitation, electronic or computerized

  data compilations. A draft or non-identical copy is a separate document within the meaning of this

  term. The term “document” further includes, but is not limited to, any and all forms of recorded

  information, whether handwritten, printed, typed, or otherwise visually reproduced, electronically

  recorded or orally recorded, including all originals, revisions, and markups of drafts, and all files,

  documents, databases, e-mails, and other data maintained in computer-readable form. The term

  “document” specifically includes, but is not limited to: working papers; communications,

  including intra-company communications; minutes and records of meetings; letters; facsimile

  transmissions; telegrams; telephone bills and records; cables; records; books; summaries or records

  of personal conversations or interviews; legal pleadings; affidavits; deposition transcripts; trial

  transcripts; forecasts; statistical statements; accountants’ work papers; brochures; pamphlets;
  circulars; press releases; agreements; contracts; telephone messages, slips and logs; diary entries;

  electronic mail and messages of every kind; calendars; reports; evaluations; assessments; analyses;

  test results; correspondence; memoranda; notes; video recordings of every kind; audio recordings

  of every kind; electronic recordings of every kind; drawings; graphics; graphs; maps; diagrams;

  charts; photographs; tables; indices; recordings; tapes; microfilms; reports of investigations;

  opinions or reports of consultants; data processing and computer printouts, tapes, disks, and data

  and information stored in computers or data processing equipment, together with programs and

  program documentation necessary to utilize or retrieve such data or information; all other

  mechanical or electronic means of storing or recording data or information; and any other data

                                                    2
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 11 of 127 PageID #:
                                     682



  compilation from which information can be obtained and translated through detection devices into

  reasonably usable form.

          6.       “Identify,” with respect to documents, means to give, to the extent known, the type

  of document, the general subject matter, the nature and substance thereof, the date it bears, the date

  it was prepared, the identity or identities of the author or authors thereof, the identity of each

  addressee, and the present location of the document. In lieu of identifying any document, identical

  copies thereof may be furnished. When used in reference to any act, state the event or events

  constituting such act, occurrence, occasion, transaction, or conduct, its location, the date and place

  thereof, the identity of the persons participating, present or involved, and the identity of any and

  all documents that relate or refer in any way thereto (including documents that have recorded,

  summarized, or confirmed, in whole or in part, the meeting, oral communications, conversation,

  or statement).

          7.       “You” or “Your” means NCAA.

          8.       “Named Plaintiffs” means Troyce Manassa and Austin Dasent.

          9.       “Division I” or “DI” refers to NCAA Division I.

          10.      “Member Conferences” refers to the “groups of colleges and/or universities that

  conduct[] competition among [their] members and determine[] a conference champion in one or

  more sports (in which the NCAA conducts championships or for which it is responsible for
  providing playing rules for intercollegiate competition), duly elected to conference membership

  under    the     provisions    of   the   bylaws       of   the   Association”    in    Division    I.

  https://www.ncaa.org/about/who-we-are/membership/becoming-ncaa-member-institution.

          11.      “Academic requirements” refers to any program(s), rules, regulations, or

  requirements relating to the academic performance of Division I student-athletes, teams, and/or

  NCAA Member Institutions.

          12.      “Academic Performance Program” or “APP” refers to the NCAA’s Academic

  Performance Program.



                                                     3
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 12 of 127 PageID #:
                                     683



         13.     The phrases “Historically Black Colleges and Universities” and “HBCUs” include

  those NCAA member institutions recognized pursuant to the Higher Education Act of 1965, as

  amended, which defines an HBCU as “…any historically black college or university that was

  established prior to 1964, whose principal mission was, and is, the education of black Americans,

  and that is accredited by a nationally recognized accrediting agency or association determined by

  the Secretary [of Education] to be a reliable authority as to the quality of training offered or is,

  according to such an agency or association, making reasonable progress toward accreditation.”

         14.     “Member institution” refers to an active member (at any time during the relevant

  period) in NCAA Division I as defined by the NCAA.

         15.     “NLI” refers to the “National Letter of Intent.”

                                          INSTRUCTIONS
         1.      All documents that exist in electronic format are to be produced in their native

  format, or in another mutually agreeable format that provides Plaintiffs with all metadata

  associated with such electronic documents and allows Plaintiffs to search and organize such

  electronic documents in a manner that is as effective and efficient as that enjoyed by the producing

  party. Even if an alternative format is agreed to by the parties for some documents, (i) all excel

  spreadsheets, powerpoint presentations, or any other documents containing embedded data,

  instructions, or notes should be produced in native format; and (ii) any documents which contain

  color should be produced in color regardless of production format. Production format shall not be

  a reason for delayed production.

         2.      All documents produced must be produced in their entirety, including all

  attachments and enclosures, and in their original folder, binder, or other cover or container unless

  it is not possible to do so. Whenever a document or group of documents is removed from a file

  folder, binder, file drawer, file box, notebook, or other cover or container, a copy of the label of

  such cover or other container must be attached to the document(s).

         3.      For any communication produced, any document referenced therein shall be

  produced.

                                                   4
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 13 of 127 PageID #:
                                     684



         4.        If any document was, but is no longer, in Your possession or subject to Your

  control, state whether it (a) is missing or lost, (b) has been destroyed, (c) has been transferred,

  voluntarily or involuntarily, to others, or (d) has been otherwise disposed of, and, in each instance,

  explain the circumstances of such disposition, and state the approximate date thereof.

         5.        As used herein, reference to any entity, company, corporation, organization, and/or

  agency includes its former and present directors, members, partners, predecessors, subsidiaries,

  divisions, affiliates, committees, employees, staff, consultants, independent contractors, and/or

  actual and apparent agencies.

         6.        In the event that you claim a document is privileged, you shall provide a privilege

  log to Plaintiffs, pursuant to Fed. R. Civ. P. 26(b)(5). You shall produce privilege logs on a rolling

  basis and shall not delay the production of non-privileged documents because of the preparation

  of a privilege log. A privilege log for documents redacted on privilege or attorney work product

  grounds shall, however, generally be produced within fifteen (15) days of production of the

  redacted materials. Privilege logs shall be produced in both PDF and Excel spreadsheet format,

  and shall contain at least the following information for each document withheld or redacted on the

  grounds of privilege or as asserted attorney work product: Bates range, date, applicable privilege,

  subject, and names associated with the document (with author, recipient, carbon copy recipient,

  and blind carbon copy recipient, if apparent from the document), and a description of the basis of
  the privilege.

         7.        The use of the singular form of any word includes the plural and vice versa.


                                      DOCUMENT REQUESTS

         1.        All documents relating to the Named Plaintiffs.

         2.        Documents sufficient to show the organizational structure of NCAA’s

  committee(s), employee(s), agent(s), and division(s) responsible for creating, approving,

  implementing, reviewing, evaluating, analyzing, administering, and enforcing academic


                                                    5
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 14 of 127 PageID #:
                                     685



  requirements, including the Academic Performance Program.

         3.      Documents sufficient to identify all third parties retained by the NCAA to review,

  evaluate, or analyze academic requirements, including the Academic Performance Program.

         4.      Documents sufficient to show NCAA’s document retention, destruction, deletion,

  and disposal policies and practices for all systems and databases that may contain discoverable

  information.

         5.      All documents referenced in, identified in, or reviewed in preparation for

  Defendant’s Answers to Plaintiffs’ Interrogatories.

         6.      All documents identified in NCAA’s Initial Disclosures.

         7.      All insurance policies that may provide coverage for the issues raised in this action.

         8.      All defense and/or indemnification agreements or insurance agreements you have

  regarding this Action, the allegations of Plaintiffs’ Complaint, and/or your defenses to said Action

  and allegations.

                                      National Letters of Intent

         9.      All document relating to the NCAA’s management of the NLI program.

         10.     All documents relating to the NCAA’s relationship with the Collegiate

  Commissioners Association.

         11.     All documents relating to the nature of the binding agreement between a

  prospective student-athlete and an NLI member institution.

         12.     All documents relating to the responsibility of the NCAA with respect to the NLIs,

  including, but not limited to, enforcing the NLIs.

         13.     All documents relating to any delegation of authority from the member institutions

  or any other entity to the NCAA to enforce the NLIs.



                                                   6
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 15 of 127 PageID #:
                                     686



         14.     All documents relating to the NCAA’s enforcement of penalties on student-athletes

  for not fulfilling the NLI agreement.

         15.     All documents relating to the NCAA’s enforcement of the recruiting prohibition

  applied after a prospective student-athlete signs the NLI.

         16.     All documents identifying the NLI member institutions.

         17.     Documents sufficient to identify all decisions, whether or not judgments or final,

  in which a court or arbitrator has determined that (i) the NCAA owes, or may owe, a duty to one

  or more student-athletes; (ii) the NCAA has, or may have, a contractual relationship with one or

  more student-athletes.

                      Metrics and Demographics of Division I Student-Athletes

         18.     All documents analyzing the race, ethnicity, resources, and/or academic

  background of Division I student-athletes as a composite group at the division, conference,

  member institution, or team levels.

         19.     All data reflecting the race, ethnicity, resources, and academic background of

  Division I student-athletes including, but not limited to, race, ethnicity, student home address and

  census tract at the time of initial eligibility, family financial information, scholarships or grants-

  in-aid, high school graduation year, high school grade point average, college entrance exam score,

  and any and all other collected data.

         20.     All documents analyzing, reporting, or tracking racial or ethnic differences or

  disparities, including, but not limited to, discrimination, in Division I sports.

                                             Division I APP

         21.     Documents sufficient to identify DI initial eligibility requirements from 2000 to

  present.



                                                     7
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 16 of 127 PageID #:
                                     687



           22.   All documents relating to the NCAA’s Academic Performance Program, including,

  but not limited to, the development, modification, administration, modeling, formula, application,

  and enforcement thereof.

           23.   All documents relating to APP penalties imposed upon member institutions and/or

  teams.

           24.   All data relating to the demographics of teams that did not meet the APR cut score

  for any given year, including, but not limited to, data disaggregated by year, member institution,

  team, and student. With respect to each student, the data should include, but not be limited to, race

  and ethnicity, student home address, and census tract at the time of initial eligibility.

           25.   All data relating to the Graduation Success Rate, Academic Progress Rate, and

  related metrics for teams that did not meet the APR cut score for any given year. With respect to

  each student, the data should include, but not be limited to, the student’s eligibility status, whether

  the student received financial aid based on athletic ability, whether the student-athlete was retained

  for the next term, and any other student-specific data upon which the Graduation Success Rate,

  Academic Progress Rate, and APP penalties, exceptions, filters, appeals, or waivers are evaluated.

           26.   All documents relating to the Academic Progress Rate, including, but not limited

  to, the development, modification, administration, modeling, formula, and application thereof.

           27.   All documents relating to the Graduation Success Rate, including, but not limited

  to, the development, modification, administration, modeling, formula, and application thereof, as

  well as including the Federal Graduation Rate.

           28.   All documents relating to Academic Progress Rate Public Recognition Awards.

           29.   All data relating to the demographics of teams that received Academic Progress

  Rate Public Recognition Awards, including, but not limited to, data disaggregated by year, member



                                                    8
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 17 of 127 PageID #:
                                     688



  institution, team, and student. With respect to each student, the data should include, but not be

  limited to, race and ethnicity and student home address and census tract at the time of initial

  eligibility.

          30.    All data relating to the Graduation Success Rate, Academic Progress Rate, and

  related academic metrics for teams that received Academic Progress Rate Public Recognition

  Awards, including, but not limited to, whether the team received any exceptions or waivers. With

  respect to each student, the data should include, but not be limited to, eligibility status, whether

  the student received financial aid based on athletic ability, whether the student-athlete was retained

  for the next term, and any other student-specific data upon which the Graduation Success Rate,

  Academic Progress Rate, and APP penalties, exceptions, filters, appeals, or waivers are evaluated.

          31.    All analyses regarding any requested, granted, denied, and/or applied APP waivers,

  exceptions, reconsiderations, filters, and appeals.

                                          NCAA Governance

          32.    All documents relating to the Division I Committee on Academic Performance

  including, but not limited to, meeting minutes, agendas, e-mails, communications, meeting

  participants, membership lists, research, recommendations, and reports.

          33.    All documents relating to the Committee on Academics, including, but not limited

  to, meeting minutes, agendas, e-mails, communications, meeting participants, membership lists,

  research, recommendations, and reports.

          34.    All documents relating to the Division I Academic Cabinet with respect to the APP,

  Academic Progress Rate, Graduation Success Rate, and/or initial eligibility requirements.

          35.    All documents relating to the Academics/Eligibility/Compliance Cabinet with

  respect to the APP, Academic Progress Rate, Graduation Success Rate, and/or initial eligibility



                                                    9
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 18 of 127 PageID #:
                                     689



  requirements.

         36.      All documents relating to the NCAA Board of Governors with respect to the APP,

  Academic Progress Rate, Graduation Success Rate, and/or initial eligibility requirements.

         37.      All documents relating to the reasons for the creation of the Historically Black

  Colleges and Universities and Limited Resource Institution Academic Advisory Group.

         38.      All documents regarding the Historically Black Colleges and Universities and

  Limited Resource Institution Academic Advisory Group, including, but not limited to, meeting

  minutes, agendas, e-mails, communications, meeting participants, membership lists, research,

  recommendations, and reports.

         39.      All documents relating to the NCAA’s Accelerating Academic Success Program,

  including, but not limited to, the identification of the member institutions that have participated in

  the program.

         40.      All documents relating to the Supplemental Support Fund, including its creation,

  implementation, administration, and (if applicable) conclusion.

         41.      All documents relating to the Limited Resource Institution Pilot Program, including

  its creation, implementation, administration, and (if applicable) conclusion.

         42.      All documents regarding the NCAA’s plan to advance racial equity, outlined at

  https://www.ncaa.org/about/resources/inclusion/planning-advance-racial-equity.

                                                    HBCUs

         43.      All communications between the NCAA and any HBCU (or agent or employee

  thereof) relating to APP, Academic Progress Rate, Graduation Success Rate, and/or initial

  eligibility requirements.

         44.      All documents relating to the actual or potential transition of any HBCU or HBCU



                                                   10
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 19 of 127 PageID #:
                                     690



  team out of Division I.

         45.     For any HBCU team that transitioned out of DI, all documents and data relating to

  the APP and demographics of any teams penalized by the NCAA relating to academics.

                                              Research/Studies

         46.     All research, studies, analyses, or reviews conducted by you or on your behalf or

  of which you are aware relating to:

                    a. DI member institutions’ performance under NCAA academic requirements,

                        including the APP;

                    b. the performance of HBCUs versus other DI member institutions under

                        NCAA academic requirements, including the APP;

                    c. the effects and/or impact of NCAA academic requirements, including the

                        APP, upon:

                             i. Division I member institutions and their teams;

                             ii. DI HBCUs and their teams;

                            iii. DI Predominantly White Institutions (PWIs) and their teams;

                            iv. DI Black student-athletes;

                             v. DI Black student-athletes at HBCUs;

                            vi. DI Black student-athletes at PWIs; and/or

                            vii. DI white student-athletes at PWIs.

                                 Complaints/ Investigations

         47.     All documents relating to any investigation or inquiry by any state or federal

  governmental body or authority of the NCAA relating to the APP.

         48.     All documents relating to any investigation or inquiry by any state or federal



                                                  11
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 20 of 127 PageID #:
                                     691



  governmental body or authority of the NCAA relating to discrimination against any member

  institution or student-athlete based on race, ethnicity, or enrollment at or status as an HBCU.

         49.     All documents relating to any investigations, allegations, grievances, or complaints,

  whether formal or informal, public or private, relating to Division I academic requirements and

  programs, including, but not limited to, the APP.

         50.     All documents related to investigations, allegations, grievances, or complaints,

  whether formal or informal, public or private, relating to racial or ethnic discrimination by the

  NCAA of its student-athletes, Conferences, or member institutions, including, but not limited to,

  enrollment at or status as an HBCU.

                                      Savannah State University

         51.     All documents relating to the application of NCAA academic requirements to

  Savannah State University, including, but not limited to, application of the APP and its penalty

  structure.

         52.     Communications between the NCAA and SSU, including, but not limited to, SSU’s

  submissions to the NCAA regarding or relating to the APP.

                                        Financial Information

         53.     All documents and data related to the NCAA’s “Limited Resource Institution”

  designation procedures and designations for each year and team/Institution.

         54.     Documents evidencing the institutional membership of each Conference during

  each year.

         55.     Documents regarding the creation, development, adoption, and application of any

  Division I restructuring, including the 2014 changes that provided additional “flexibility” to certain

  Conferences.



                                                   12
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 21 of 127 PageID #:
                                     692



         56.     Documents evidencing the financial resources provided by the NCAA to each

  NCAA Division I team, Institution, and/or Conference on an annual basis, broken down by

  Conference, Institution, team, and year.

         57.     Documents evidencing the financial resources provided by each Division I

  Conference to its member institution teams on an annual basis, broken down by Institution, team,

  and year.

         58.     Documents evidencing the financial resources provided by each Division I

  institution to its athletic programs and/or student-athletes on an annual basis, broken down by

  student athlete, team, and year (e.g., Membership Financial Reporting System data).

         59.     Documents evidencing each Institution’s financial resource expenditure and

  allocation per student-athlete.

         60.     Documents evidencing each Institution’s financial resource allocations for

  academic assistance to student-athletes including tutoring, administrative assistance, academic

  advising, and academic counseling.




  DATED: October 27, 2021                            Respectfully submitted,

                                                     By: /s/ Jessica H. Meeder
                                                     Jessica H. Meeder (admitted pro hac vice)
                                                     FEGAN SCOTT LLC
                                                     1200 G Street, N.W., Suite 800
                                                     Washington, DC 20005
                                                     Telephone:     (202) 921-6007
                                                     Facsimile:     (202) 217-2814
                                                     jessica@feganscott.com

                                                     Elizabeth A. Fegan (admitted pro hac vice)
                                                     FEGAN SCOTT LLC
                                                     150 S. Wacker Dr., 24th Floor
                                                     Chicago, IL 60606
                                                     Telephone: (312) 741-1019

                                                13
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 22 of 127 PageID #:
                                     693



                                            Facsimile:   (312) 264-0100
                                            beth@feganscott.com

                                            Je Yon Jung (admitted pro hac vice)
                                            MAY LIGHTFOOT PLLC
                                            3200 Martin Luther King Jr. Ave. S.E.
                                            Third Floor
                                            Washington, DC 20032
                                            Telephone: (202) 918-1824
                                            Facsimile: (202) 918-1010
                                            jjung@maylightfootlaw.com

                                            LaRuby May (admitted pro hac vice)
                                            MAY LIGHTFOOT PLLC
                                            3200 Martin Luther King Jr. Ave. S.E.
                                            Third Floor
                                            Washington, DC 20032
                                            Telephone: (202) 918-1824
                                            Facsimile: (202) 918-1010
                                            lmay@maylightfootlaw.com

                                            William N. Riley, Bar No.: 14941-49
                                            Russell B. Cate, Bar No.: 27596-29
                                            RILEYCATE, LLC
                                            11 Municipal Drive, Ste. 320
                                            Fishers, IN 46038
                                            Telephone: (317) 588-2866
                                            Facsimile: (317) 458-1875
                                            wriley@rileycate.com
                                            rcate@rileycate.com

                                            Attorneys for Plaintiffs and the Proposed
                                            Class




                                       14
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 23 of 127 PageID #:
                                     694



                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 27th day of October 2021, a copy of the foregoing was served

  via e-mail to:

  R. Anthony Prather (State Bar No. 6478-49)
  BARNES & THORNBURG LLP
  11 S. Meridian Street
  Indianapolis, IN 46204
  Telephone: (317) 236-1313
  Facsimile: (317) 231-7433

  Victor D. Vital (admitted pro hac vice)
  BARNES & THORNBURG LLP
  2121 N. Pearl Street, Ste. 700
  Dallas, TX 75201
  Telephone: (214) 258-4200
  Facsimile: (214) 258-4199

  V. Chisara Ezie-Boncoeur
  BARNES & THORNBURG LLP
  201 S. Main Street, Ste. 400
  South Bend, IN 46601
  Telephone: (574) 237-1273
  Facsimile: (574) 237-1125


  Attorneys for Defendant



  DATED: October 27, 2021                            Respectfully submitted,

                                                     By: /s/ Jessica H. Meeder
                                                     Jessica H. Meeder




                                                15
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 24 of 127 PageID #:
                                     695




                            Exhibit A
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 25 of 127 PageID #:
                                        696


                                                                                   
(https://www.feganscott.com/)




                                HBCU Case



Was your Athletic Career Impacted by the NCAA?

Unfair postseason bans may have damaged the athletic careers of
many HBCU student athletes.

We believe the NCAA mandates are discriminatory.


  You could be entitled to compensation
  Law firms FeganScott and May Lightfoot Law
  (https://www.maylightfootlaw.com/) have filed a class action
  lawsuit on behalf of current and former Black student athletes at
  HBCUs against the National Collegiate Athletic Association
  (NCAA), alleging the NCAA’s Academic Performance Program
  (APP) is discriminatory toward – and punishes – Black student
  athletes at HBCUs.

  Know your rights – contact us to learn more.
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 26 of 127 PageID #:
                                        697

      “We
      “W
       We m
          missed
            issed oout
                    ut oonn post-season opportunities because of a system that the
      NCAA
      N CAA knew
            knew would
                 woulld punish
                        p      Black student-athletes. The NCAA is robbing student-          
(https://www.feganscott.com/)
      athletes at HBCUs of the opportunities to experience what every college athlete
      strives for when they join a Division 1 school as a student-athlete: playing in
      post-season championship games and tournaments.”

      – Troyce Manassa, plaintiff and former guard for the Savannah State University Men’s
      basketball team




  Contact Us



       If you would like a free, no obligation consultation with our firm, please
          call us at 630.273.2625 or complete the form below and we will get
                                       back to you

       First Name


         First Name


       Last Name


         Last Name


       Email Address


         Email Address
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 27 of 127 PageID #:
                                        698
       Phone Number


          Phone
          P hone N
                 Number
                   umbber                                                                    
(https://www.feganscott.com/)

       Message


         Message




               I'm not a robot
                                          reCAPTCHA
                                          Privacy - Terms




           Submit




Case Details
Atttorneys: Beth Fegan | (https://www.feganscott.com/elizabeth-
fegan/)LaRuby May | (https://www.maylightfootlaw.com/our-
team/laruby-may/)Je Yon Jung |
(https://www.maylightfootlaw.com/our-team/je-yon-jung/)E Email::
hbcu@feganscott.com

Case Status: Active | De
                      Deffendants: NCAA Case: 1:20-cv-03172




                           10 Dec 2020                         15 Jan 2021 (https://www.fegansco
      (https://www.feganscott.com/news/challenging-the-ncaa-    hbcu-athletes-¦ghts-what-it-calls-n
        hbcus-say-no-more-discrimination-in-academic-rules/)
                                                                Lawsuit by HBCU athlet
       Challenging The NCAA: HBCUs Say No                           calls NCAA’s syste
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 28 of 127 PageID #:
                                        699
        More Discrimination In Academic Rules                                     (https://www.feganscott
      ((https://www.feganscott.com/news/chall
        https://www.fega                                                           uit-by-hbcu-athletes-¦g
          eenging-the-ncaa-hbcus-say-no-more-
            nging-tthe-nnca                                                                ncaas-systemic
                                                                                                        
(https://www.feganscott.com/)
            discrimination-in-academic-rules/)
                                                                                     By Derrick Z. Jackson | ESPN
        By Tom Goldman, NPR For more than 50 years, the
                                                                                  Black athletes have launched a
         NCAA has imposed academic rules to make sure
                                                                                    they are calling the chronic bi
      college athletes aren't just athletes, and the decades-
                                                                                     month in federal court in Ind
        long process has generated plenty of controversy.
                                                                                           wasÁ¦ledÁalleging the go
           Critics claim the academic standards, and the
                               penalties…
                                                                                                            read more

Impacted Universities
Alabama A&M University – Alabama State University – Alcorn State University – Coppin State
University – Delaware State University – Florida A&M University – Grambling State University –
Hampton University – Howard University – Mississippi Valley State University – Morgan State
University – Norfolk State University – North Carolina A&T State University – Prairie View A&M
University Football – Savannah State University – Southern University – Texas Southern University –
University of Arkansas, Pine Bluff




Click here (https://www.feganscott.com/cases/hbcu/) for more information about the current case.
Contact us (https://www.feganscott.com/contact-us/) to learn more.



     Our legal team makes it easier for student athletes to pursue justice. This is an Attorney Advertisement.
     FeganScott LLC, 150 S. Wacker Dr., 24th Floor, Chicago, IL 60606, is responsible for the content of this
 advertisement. Individual attorneys at FS are licensed to practice law in Illinois, New York, California, Michigan,
Minnesota, the District of Columbia, Florida, among other jurisdictions. In other states, the firm will associate with
counsel licensed in that state. Not accepting cases in all jurisdictions. No attorney-client relationship is formed by
your use of this website or by any communication you send or receive through this site. The content and features
on this website shall not be construed as legal advice. The hiring of a lawyer is an important decision that should
  not be based solely on advertisements. No representation is made that the quality of the legal services to be
performed is greater than the quality of legal services performed by other lawyers. Prior results do not guarantee
    Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 29 of 127 PageID #:
                                                     700 upon request. Click here to read our full disclaimers.
a similar outcome. Free background information is available
                                   (https://www.feganscott.com/disclaimer/)

                                                                                                           
(https://www.feganscott.com/)



                                      (https://www.feganscott.com/)

                                            © 2022 FeganScott

                          Disclaimer (https://www.feganscott.com/disclaimer/)

                                                          
                                              (h     (h     (h
                                              tt     tt     tt
                                              p      p      p
                                              s:     s:     s:
                                              //     //     //
                                              w       t     w
                                              w      wi     w
                                              w.     tt     w.
                                              fa     er      li
                                               c     .c     n
                                              e      o       k
                                              b      m      e
                                              o      /F     di
                                              o      e      n.
                                              k.     g       c
                                               c      a     o
                                              o      n      m
                                              m      S      /c
                                              /f      c     o
                                              e      ot     m
                                              g      tL     p
                                               a      a      a
                                              ns     w)     n
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 30 of 127 PageID #:
                                        701
                                    c          y/
                                    ot         fe
                                                                                   
(https://www.feganscott.com/)
                                    tl         g
                                    a           a
                                    w          ns
                                    /)          c
                                               ot
                                                tl
                                                a
                                               w
                                               /a
                                               b
                                               o
                                               ut
                                               /)
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 31 of 127 PageID #:
                                        702


                                                                                   
(https://www.feganscott.com/)




    Advocating for justice and victims’ rights with integrity,
    passion and excellence.
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 32 of 127 PageID #:
                                        703


                                                                                                      
(https://www.feganscott.com/)




FeganScott Announces Proposed $92 Million Settlement on Behalf of
TikTok Users
Today, the law ¦rms of Carlson Lynch LLP, FeganScott LLC, and Bird, Marella, Boxer, Wolpert, Nessim,
Drooks, Lincenberg & Rhow, P.C. moved for preliminary approval of a $92 million proposed class
action settlement on behalf of users of the TikTok app.

The settlement, if approved by the court, would resolve claims that the social media company
wrongfully collected its users’ biometric information and private data, and disclosed that information
to third parties. In addition to creating a monetary fund for TikTok users, the settlement requires that
TikTok initiate a new privacy compliance training program and take other steps to protect its users’
privacy going forward.

Illinois is currently the only state in the country with a statute that allows consumers to seek monetary
damages if their biometric information is wrongfully taken. Because of this important, Illinois-speci¦c
claim, the settlement proposes that each Illinois class member receive an additional ¦ve shares of the
$92 million settlement fund compared to other class members nationwide.

Once approved, class members will receive information about how to participate in the settlement.

Read more here (https://www.feganscott.com/cases/tiktok/).




          Who We Are
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 33 of 127 PageID #:
                                        704
         We’re a nationwide class action law ¦rm dedicated to helping victims of sexual
         abuse, discrimination,
         abuse, discrim
                      minnat    consumer fraud, products liability and antitrust violations
                                                                                              
           hil supporting
          while       i community-driven legal needs and access to healthcare
(https://www.feganscott.com/)



               Learn more (https://www.feganscott.com/our-firm/)




    Current Cases




    NCAA, John Rembao
    Beth Fegan and Lynn Ellenberger lead a class action case brought on behalf of three
    former student-athletes against John Rembao, their former track and ¦eld and cross-
    country coach at the University of Arizona and the University of Texas-Austin.Á The
    lawsuit…




         View All Cases (https://www.feganscott.com/current-cases/)




  Successes
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 34 of 127 PageID #:
                                        705


                                                                                            
(https://www.feganscott.com/)




  McCormick
  FeganScott announced the preliminary approval of a $2.5 million class action settlement
  on behalf of purchasers of certain black pepper products in California, Florida and
  Missouri. The settlement will resolve consumer claims that McCormick & Company
  under-¦lled its black pepper…




       View All Successes (https://www.feganscott.com/successes/)




       Why We’re Here
       We’re always working to leverage our passion for advocacy to zealously represent
       our clients and the causes we care about.



                  learn more (https://www.feganscott.com/who-we-
                                       serve/)
  Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 35 of 127 PageID #:
                                       706


          FeganScott
          F eganScott iiss proud to be a powerful ally for consumers and                     
            small businesses. In every case, we fight zealously to right
(https://www.feganscott.com/)
                  wrongs with passion, integrity and excellence.




                            FeganScott in the News




     2 May 2022 (https://www.feganscott.com/news/elizabeth-     18 Apr 2022 (https://www.fegansc
       fegan-recognized-in-the-american-lawyers-2022-list-of-      lawsuit-claims-ncaas-academic
                      midwest-trailblazers/)                            against-hbcus-and-black-s

        Elizabeth Fegan Recognized in The                           CBS News: Lawsuit c
     American Lawyer’s 2022 list of Midwest                      academic policies disc
                    Trailblazers                                    HBCUs and Black stu
    (https://www.feganscott.com/news/eliza                      (https://www.feganscot
     beth-fegan-recognized-in-the-american-                       news-lawsuit-claims-n
           lawyers-2022-list-of-midwest-                        policies-discriminate-ag
                   trailblazers/)                                        black-student-a
      FeganScott is proud to announce that Elizabeth A.         On April 15, 2022, CBS News’ S
     Fegan, founding and managing partner of the ¦rm,             co-counsel at May Lightfoot
     has been named to The American Lawyer’s 2022 list            HBCU athlete leading the cla
       of Midwest Trailblazers. This list spotlights legal       NCAA’s academic rules for stu
       professionals who act as agents of change in…                  subject of a proposed cla

                            read more                                                 read more
           (https://www.feganscott.com/news/elizabeth-               (https://www.feganscott.com
         f             i d i th       i  l       2022                   l     it l i
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 36 of 127 PageID #:
                                        707

                                (https://www.feganscott.com/)
                                                                                   
                                      © 2022 FeganScott
(https://www.feganscott.com/)
                       Disclaimer (https://www.feganscott.com/disclaimer/)

                                                 
                                       (h    (h    (h
                                       tt    tt    tt
                                       p     p     p
                                       s:    s:    s:
                                       //    //    //
                                       w      t    w
                                       w     wi    w
                                       w.    tt    w.
                                       fa    er     li
                                        c    .c     n
                                       e     o      k
                                       b     m      e
                                       o     /F    di
                                       o     e     n.
                                       k.    g      c
                                        c     a    o
                                       o     n     m
                                       m     S     /c
                                       /f     c    o
                                       e     ot    m
                                       g     tL    p
                                        a     a     a
                                       ns    w)     n
                                        c          y/
                                       ot          fe
                                       tl          g
                                        a           a
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 37 of 127 PageID #:
                                        708
                                    w          ns
                                    /)          c
                                                                                   
(https://www.feganscott.com/)
                                               ot
                                               tl
                                               a
                                               w
                                               /a
                                               b
                                               o
                                               ut
                                               /)
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 38 of 127 PageID #:
                                        709



                                                                                    
(https://www.feganscott.com/)



< Current Cases (https://www.feganscott.com/cases/?type=current)


Case Statistics

  Defendant Name: National Collegiate Athletics Association (NCAA), NCAA Board of
  Governors, John Rembao


  Case Number: 5:20-cv-01733

  Court: UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA SAN
  JOSE DIVISION

  Practice Area: Sexual Abuse & Assault, Sports Litigation

  Status: Active

  Date Filed: 03/11/2020




Case Files
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 39 of 127 PageID #:
                                     710




                                 Complaint
(https://www.feganscott.com/wp-content/uploads/2020/03/NCAA-Complaint-
Final-court-stamped-with-attachments.pdf)




                             Amended Complaint
(https://www.feganscott.com/wp-content/uploads/2020/03/54-Amended-
Complaint.pdf)




                     Order Denying Motion to Dismiss
(https://www.feganscott.com/wp-content/uploads/2020/05/order-on-MTD.pdf)
( Case  1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 40 of 127 PageID #:
   ttps://     . ega scott.co / p co te t/up
                                          711oads/ 0 0/05/o de o        .pd )




                          Second Amended Complaint
(https://www.feganscott.com/wp-content/uploads/2020/05/116-Second-
Amended-Complaint-NCAA.pdf)




Case Overview


Beth Fegan and Lynn Ellenberger lead a class action case brought on behalf of three former
student-athletes against John Rembao, their former track and ¦eld and cross-country coach at
the University of Arizona and the University of Texas-Austin.Á The lawsuit seeks damages for
plaintiffs’ signi¦cant physical and emotional distress arising out of the abuse they suffered.

Plaintiffs also ¦led related claims against the NCAA, alleging that the NCAA put student-athletes
in harm’s way by failing to prohibit sexual abuse, sexual harassment, or sexual contact between
coaches and student-athletes, and by permitting coaches accused of sexual abuse, like Rembao,
to move unfettered between NCAA schools.

Plaintiffs alleged that the NCAA facilitated a national epidemic by perpetuating a cycle of sexual
abuse because it chose not to impose signi¦cant sanctions that would incentivize schools to
report abuse and deter perpetrators.
 Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 41 of 127 PageID #:
                                      712
Although the claims against the NCAA have been dismissed by the court as untimely, please
contact Fegan Scott if you are a former NCAA student-athlete who was subject to abuse by your
college or university coach.

Hear their stories. Erin, Londa and Jessica speak out about John Rembao and the NCAA:


  Erin, Londa and Jessica's Stories | FeganScott NCAA




           30:28




Erin, Londa and Jessica’s Stories | FeganScott NCAA (https://vimeo.com/397002535) from
Firmani + Associates Inc. (https://vimeo.com/user34340628) on Vimeo (https://vimeo.com).




                                       share case 




   If you would like a free, no obligation consultation with our firm, please call
   us at 630.273.2625 or complete the form below and we will get back to you

   First Name
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 42 of 127 PageID #:
                                     713
   First Name


  Last Name


   Last Name


  Email Address


   Email Address


  Phone Number


   Phone Number


  Message


   Message




        I'm not a robot
                              reCAPTCHA
                              Privacy - Terms




      Submit




                             Related News
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 43 of 127 PageID #:
                                                   714
  7 Jan 2022 (https://www.feganscott.com/news/santa-cruz-      3 Nov 2021 (https://www.fegansco
   sentinel-the-¦nal-hurdle-survivors-¦ght-to-keep-local-john-  could-have-been-me-the-ncaa-mu
                   rembao-out-of-coaching/)                              student-athletes-from-s

    Santa Cruz Sentinel: The ¦nal hurdle:                            Fortune: It could have
      Survivors ¦ght to keep local John                            NCAA must do more to
           Rembao out of coaching                                         athletes from sex
  (https://www.feganscott.com/news/sant                           (https://www.feganscott
  a-cruz-sentinel-the-¦nal-hurdle-survivors-                      ne-it-could-have-been-m
   ¦ght-to-keep-local-john-rembao-out-of-                            do-more-to-protect-st
                 coaching/)                                                  from-sexual-a

   ByÁMELISSA HARTMAN SANTA CRUZ — The Santa                         In a recent op-ed published b
  Cruz County community recently fought hard to keep                     Solstice Thomas discuss
  a sexual predator out of its jurisdictional limits. All the       consequences of the recent d
  while, renowned track and cross country coach John                 sexual assault lawsuit, whic
          Rembao lived out of his Ben Lomond…                     information about here. Read o
                                                                                      below "I wa




                                  (https://www.feganscott.com/)

                                        © 2022 FeganScott

                       Disclaimer (https://www.feganscott.com/disclaimer/)

                                                      
                                          (h     (h     (h
                                          tt     tt     tt
                                          p      p      p
                                          s:     s:     s:
                                          //     //     //
                                          w       t     w
                                          w      wi     w
                                          w.     tt     w.
                                          fa     er      li
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 44 of 127 PageID #:
                                     715
                                 c    .c     n
                                 e    o      k
                                 b    m      e
                                 o    /F    di
                                 o    e     n.
                                 k.   g      c
                                 c     a    o
                                 o    n     m
                                 m    S     /c
                                 /f    c    o
                                 e    ot    m
                                 g    tL    p
                                 a     a     a
                                 ns   w)     n
                                 c          y/
                                 ot         fe
                                 tl         g
                                 a           a
                                 w          ns
                                 /)          c
                                            ot
                                             tl
                                             a
                                            w
                                            /a
                                            b
                                            o
                                            ut
                                            /)
     Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 45 of 127 PageID #:
                                          716


                                                                                                                 
(https://www.feganscott.com/)




NCAA argues in sex abuse case it has no legal duty to
protect athletes
Written by: feganscott (https://www.feganscott.com/news/author/feganscott/)                                06/03/2020




By: Scott Reid, Orange County Register

Olympic high jumper Erin Aldrich was not surprised when she read the NCAA’s latest response to the lawsuit she
and two other track and ¦eld athletes ¦led against the organization.

Frustrated, yes, but not surprised.

The NCAA, facing a potential landmark class action lawsuit, said it has no legal obligation to protect student
athletes against sexual abuse and harassment, according to a ¦ling in U.S. District Court Northern District of
California.

“You don’t expect a coward to come out and take responsibility,” Aldrich said. “They’ve basically responded sadly
in the way they’ve responded for years.”

The NCAA in the ¦ling also said it will ask Judge Edward J. Davila in July to dismiss the suit in which Aldrich and
former Texas track athletes Jessica Johnson and Londa Bevins allege the NCAA has helped create a national
sexual abuse epidemic by choosing not to implement rules or impose sanctions that would require member
schools to take steps to prevent and report abuse by coaches and deter perpetrators.

“We aren’t hoping for change here. We are demanding change from the NCAA,” Aldrich said.

Read more here (https://www.ocregister.com/2020/06/02/ncaa-argues-in-sex-abuse-case-it-has-no-legal-duty-to-
protect-athletes/).
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 46 of 127 PageID #:
                                        717


     Share
     S hare tthis
               his a
                   article
                     rticle                                                  
      (https://www.facebook.com/sharer/sharer.php?
(https://www.feganscott.com/)
     u=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fncaa-argues-in-sex-
     abuse-case-it-has-no-legal-duty-to-protect-athletes%2F)
        (https://twitter.com/intent/tweet?
       url=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fncaa-argues-in-
       sex-abuse-case-it-has-no-legal-duty-to-protect-athletes%2F)
        (https://www.linkedin.com/shareArticle?
       mini=true&url=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fncaa-
       argues-in-sex-abuse-case-it-has-no-legal-duty-to-protect-
       athletes%2F&source=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fncaa-
       argues-in-sex-abuse-case-it-has-no-legal-duty-to-protect-athletes%2F)
        (mailto:?
       body=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fncaa-argues-in-
       sex-abuse-case-it-has-no-legal-duty-to-protect-athletes%2F)




Categories

Blog (https://www.feganscott.com/news/category/blog/)

Case News (https://www.feganscott.com/news/category/case-news/)

Firm News (https://www.feganscott.com/news/category/¦rm-news/)




                                  (https://www.feganscott.com/)

                                       © 2022 FeganScott
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 47 of 127 PageID #:
                                        718
                            Disclaimer (https://www.feganscott.com/disclaimer/)

                                                                                    
(https://www.feganscott.com/)               (h    (h    (h
                                            tt    tt    tt
                                            p     p     p
                                            s:    s:    s:
                                            //    //    //
                                            w      t    w
                                            w     wi    w
                                            w.    tt    w.
                                            fa    er     li
                                             c    .c     n
                                            e     o      k
                                            b     m      e
                                            o     /F    di
                                            o     e     n.
                                            k.    g      c
                                             c     a    o
                                            o     n     m
                                            m     S     /c
                                            /f     c    o
                                            e     ot    m
                                            g     tL    p
                                             a     a     a
                                            ns    w)     n
                                             c          y/
                                            ot          fe
                                            tl          g
                                             a           a
                                            w           ns
                                            /)           c
                                                        ot
                                                         tl
                                                         a
                                                        w
                                                        /a
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 48 of 127 PageID #:
                                        719
                                               b
                                               o
                                                                                       
(https://www.feganscott.com/)
                                               ut
                                               /)
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 49 of 127 PageID #:
                                           720

                                                                                                                                                          
(https://www.feganscott.com/)




                                                               Search Results



                                                 All Results          ncaa




(https://www.feganscott.com/cases/ncaa/)




11 May 2020 (https://www.feganscott.com/cases/ncaa/)


NCAA, John Rembao (https://www.feganscott.com/cases/ncaa/)
...claims against the NCAA, alleging that the NCAA put student-athletes in harm’s way by failing to prohibit sexual abuse, sexual harassment, or sexual
contact between coaches and student-athletes, and by...
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 50 of 127 PageID #:
                                           721
1100 Dec 20
         2020
            20 ((h
                (http
                (https://www.feganscott.com/cases/hbcu/)
                  ttps:/
                    p :///ww
                         /wwww.f
                              .fega
                                egan
                                 g n


NCAA,
N   CAA H        HBCUs
                    BC (https://www.feganscott.com/cases/hbcu/)
(https://www.feganscott.com/)
                                                                                                                                                                         


...1,000, resulting in the APR. The NCAA maintains that a 930 APR is a “proxy” for eventual graduation success, representing a projected 50% GSR. Despite
promises by the NCAA that...


28 May 2020 (https://www.feganscott.com/news/the-ncaa-claims-it-owes-no-legal-duty-to-protect-ncaa-student-athletes-in-legal-¦lings-according-to-feganscott-and-lieff-
cabraser-law-¦rms/)


The NCAA Claims it Owes No Legal Duty to Protect NCAA
Student-Athletes in Legal Filings According to FeganScott and
Lieff Cabraser Law Firms (https://www.feganscott.com/news/the-
ncaa-claims-it-owes-no-legal-duty-to-protect-ncaa-student-
athletes-in-legal-filings-according-to-feganscott-and-lieff-cabraser-
law-firms/)
...they suffered at the hands of their NCAA track and ¦eld coach, the NCAA argues it has no legal duty to protect NCAA student-athletes from such
predatory conduct. “The fact...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y


(https://www.feganscott.com/news/feganscott-on-ncaa-v-alston/)




24 Jun 2021 (https://www.feganscott.com/news/feganscott-on-ncaa-v-alston/)
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 51 of 127 PageID #:
                                           722
Fe
FeganScott
   eganScottt on NCAA v. Alston
((https://www.feganscott.com/news/feganscott-on-ncaa-v-alston/)
  https://www                                                   
(https://www.feganscott.com/)
...nation’s highest court held that despite the NCAA’s belief to date, the NCAA’s compensation rules are not exempt from the federal antitrust laws. The high
court’s opinion traces the NCAA’s...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                 g                     g y/blog/)
                                           y  g


11 Mar 2022 (https://www.feganscott.com/cases/usf-ncaa-abuse/)


USF, NCAA Abuse (https://www.feganscott.com/cases/usf-ncaa-
abuse/)
On March 11, 2022, three University of San Francisco (USF) Baseball student-athletes ¦led a class-action lawsuit against the National Collegiate Athletics
Association (NCAA), USF, and two USF coaches, Nino Giarratano...


11 Mar 2020 (https://www.feganscott.com/news/student-athletes-¦le-class-action-lawsuit-against-ncaa-and-former-track-coach-john-rembao-according-to-feganscott-law-
¦rm/)


Student-Athletes File Class Action Lawsuit Against NCAA and
Former Track Coach John Rembao, According to FeganScott Law
Firm (https://www.feganscott.com/news/student-athletes-file-
class-action-lawsuit-against-ncaa-and-former-track-coach-john-
rembao-according-to-feganscott-law-firm/)
...cross-country coach at the University of Arizona, University of Texas-Austin and other NCAA universities. The complaint alleges that the NCAA put
student-athletes at all NCAA member schools in harm’s way...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y


15 Jan 2021 (https://www.feganscott.com/news/lawsuit-by-hbcu-athletes-¦ghts-what-it-calls-ncaas-systemic-racism/)


Lawsuit by HBCU athletes fights what it calls NCAA’s systemic
racism (https://www.feganscott.com/news/lawsuit-by-hbcu-
athletes-fights-what-it-calls-ncaas-systemic-racism/)
By Derrick Z. Jackson | ESPN’s The Undefeated Á Black athletes have launched a legal assault on what they are calling the chronic bias by the NCAA. Last
month in...

Firm News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/y ¦rm-news/)


16 Sep 2021 (https://www.feganscott.com/news/u-s-district-court-gives-hbcu-student-athletes-green-light-in-case-challenging-ncaas-academic-performance-program/)


U.S. District Court Gives HBCU Student Athletes Green Light in
Case Challenging NCAA’s Academic Performance Program
(https://www.feganscott.com/news/u-s-district-court-gives-hbcu-
student-athletes-green-light-in-case-challenging-ncaas-academic-
performance-program/)
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 52 of 127 PageID #:
                                                                           723
...underserved Black community, including Black student-athletes. It further alleges that the NCAA knew the APP was racially discriminatory but enacted
annd en
aand enfo
       force
          cedd itt aanyway.
     enforced        nywa
                     ny wayy. “T
                              “The
                                 he NCAA’s blunt application of the...
                                                                                                                                                          
Blog (https:/
     ( p //www.feganscott.com/news/categor
                  g
(https://www.feganscott.com/)          g y/blog/)
                                           y  g , Case News (https:/
                                                            ( p //www.feganscott.com/news/categor
                                                                        g                     g y/case-news/)
                                                                                                  y
APP (https:/
     ( p //www.feganscott.com/news/tag/app/)
                  g                   g pp , College
                                                   g Students (https:/
                                                              ( p //www.feganscott.com/news/tag/college-students/)
                                                                          g                    g      g           , HBCU
(https:/
    p //www.feganscott.com/news/tag/hbcu/)
                g                 g       , HBCUs (https:/
                                                  ( p //www.feganscott.com/news/tag/hbcus/)
                                                                g                 g        , NCAA (https:/
                                                                                                  ( p //www.feganscott.com/news/tag/ncaa/)
                                                                                                                g                 g       , student-
athletes (https:/
         ( p //www.feganscott.com/news/tag/student-athletes/)
                      g                    g


(https://www.feganscott.com/cases/national-collegiate-athletic-association/)




25 Oct 2019 (https://www.feganscott.com/cases/national-collegiate-athletic-association/)


NCAA - Concussions (https://www.feganscott.com/cases/national-
collegiate-athletic-association/)
As part of the co-lead counsel team, Beth prosecuted a nationwide class action lawsuit against the NCAA for failing to implement best practices for
treatment of concussions in sports, thereby...


3 Jun 2020 (https://www.feganscott.com/news/ncaa-argues-in-sex-abuse-case-it-has-no-legal-duty-to-protect-athletes/)


NCAA argues in sex abuse case it has no legal duty to protect
athletes (https://www.feganscott.com/news/ncaa-argues-in-sex-
abuse-case-it-has-no-legal-duty-to-protect-athletes/)
By: Scott Reid, Orange County Register Olympic high jumper Erin Aldrich was not surprised when she read the NCAA’s latest response to the lawsuit she
and two other track and...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 53 of 127 PageID #:
                                           724
                          1                             2                                        3                                      
       (https://www.feganscott.com/?
       (h
        htttpps
             ps:/
               :////w
                    www.ffeg
                          egan
                          egan
                             a sc      (https://www.feganscott.com/page/2/?     (https://www.feganscott.com/page/3/?   (https://www.feganscott.com/
                      s=ncaa)
                      s=
                       =ncncaa
                             aa)
                             aa
                             aa)                      s=ncaa)                                  s=ncaa)                                s=ncaa)
(https://www.feganscott.com/)




                                                        (https://www.feganscott.com/)

                                                              © 2022 FeganScott

                                              Disclaimer (https://www.feganscott.com/disclaimer/)

                                                                            
                                                               (h    (h       (h
                                                               tt    tt       tt
                                                               p     p        p
                                                               s:    s:       s:
                                                               //    //       //
                                                               w      t       w
                                                               w     wi       w
                                                               w.    tt       w.
                                                               fa    er        li
                                                                c    .c        n
                                                               e     o         k
                                                               b     m         e
                                                               o     /F       di
                                                               o     e        n.
                                                               k.    g         c
                                                                c     a       o
                                                               o     n        m
                                                               m     S        /c
                                                               /f     c       o
                                                               e     ot       m
                                                               g     tL       p
                                                                a     a        a
                                                               ns    w)        n
                                                                c             y/
                                                               ot             fe
                                                               tl             g
                                                                a              a
                                                               w              ns
                                                               /)              c
                                                                              ot
                                                                               tl
                                                                               a
                                                                              w
                                                                              /a
                                                                              b
                                                                              o
     Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 54 of 127 PageID #:
                                          725
                                                ut
                                                /)
                                                                                         
(https://www.feganscott.com/)
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 55 of 127 PageID #:
                                           726

                                                                                                                                                                        
(https://www.feganscott.com/)




                                                                   Search Results



                                                     All Results             ncaa




10 Dec 2020 (https://www.feganscott.com/news/challenging-the-ncaa-hbcus-say-no-more-discrimination-in-academic-rules/)


Challenging The NCAA: HBCUs Say No More Discrimination In
Academic Rules (https://www.feganscott.com/news/challenging-
the-ncaa-hbcus-say-no-more-discrimination-in-academic-rules/)
...The NCAA should be supporting the mission of HBCUs, not penalizing them for it.” Fegan has done battle with the NCAA before. The discrimination
lawsuit she and other attorneys ¦led...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y


16 Sep 2020 (https://www.feganscott.com/news/the-civil-case-against-harvey-weinstein-the-ncaa-and-the-university-of-southern-california-with-elizabeth-fegan-miranda-
warnings/)


The Civil Case Against Harvey Weinstein, the NCAA and the
University of Southern California with Elizabeth Fegan | Miranda
Warnings (https://www.feganscott.com/news/the-civil-case-
against-harvey-weinstein-the-ncaa-and-the-university-of-southern-
california-with-elizabeth-fegan-miranda-warnings/)
...monies is anticipated to be made in February 2021. Discussing the class action suit against the NCAA, Fegan explains her reasoning for beginning an
investigation and how forcing the NCAA...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y


11 Mar 2022 (https://www.feganscott.com/news/san-francisco-chronicle-intolerable-sexualized-environment-ex-usf-baseball-players-sue-coaches-school-ncaa/)


San Francisco Chronicle: 'Intolerable sexualized environment': Ex-
USF baseball players sue coaches, school, NCAA
(https://www.feganscott.com/news/san-francisco-chronicle-
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 56 of 127 PageID #:
                                           727
in
intolerable-sexualized-environment-ex-usf-baseball-players-sue-
  ntolerable s
ccoaches-school-ncaa/)
  oaches-sch                                                                                                                                                          
(https://www.feganscott.com/)
...and the National Collegiate Athletic Association as defendants, claiming the school knew about the coaches’ inappropriate conduct and alleging the
NCAA “has failed to implement any rules prohibiting sexual harassment...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                  g                      g y/blog/)
                                            y   g , Case News (https:/
                                                                  ( p //www.feganscott.com/news/categor
                                                                              g                      g y/case-news/)
                                                                                                        y
Abuse (https:/
       ( p //www.feganscott.com/news/tag/abuse/)
                    g                   g         , Baseball (https:/
                                                             ( p //www.feganscott.com/news/tag/baseball/)
                                                                          g                   g            , Coach abuse
(https:/
    p //www.feganscott.com/news/tag/coach-abuse/)
               g                  g              , NCAA (https:/
                                                         ( p //www.feganscott.com/news/tag/ncaa/)
                                                                        g                   g      , USF (https:/
                                                                                                          ( p //www.feganscott.com/news/tag/usf/)
                                                                                                                         g                g


11 Mar 2022 (https://www.feganscott.com/news/lawsuit-¦led-by-feganscott-law-¦rm-co-counsel-alleges-ncaa-and-university-of-san-francisco-fail-to-protect-baseball-players-
from-sexual-misconduct-by-coaches/)


Lawsuit Filed by FeganScott Law Firm & Co-Counsel Alleges
NCAA and University of San Francisco Fail to Protect Baseball
Players from Sexual Misconduct by Coaches
(https://www.feganscott.com/news/lawsuit-filed-by-feganscott-law-
firm-co-counsel-alleges-ncaa-and-university-of-san-francisco-fail-
to-protect-baseball-players-from-sexual-misconduct-by-coaches/)
SAN FRANCISCO – Today three University of San Francisco (USF) Baseball student-athletes ¦led a class-action lawsuit against the National Collegiate
Athletics Association (NCAA), USF, and two USF coaches, Nino Giarratano...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                 g                     g y/blog/)
                                           y  g , Case News (https:/
                                                            ( p //www.feganscott.com/news/categor
                                                                        g                     g y/case-news/)
                                                                                                  y


18 Apr 2022 (https://www.feganscott.com/news/cbs-news-lawsuit-claims-ncaas-academic-policies-discriminate-against-hbcus-and-black-student-athletes/)


CBS News: Lawsuit claims NCAA’s academic policies discriminate
against HBCUs and Black student-athletes
(https://www.feganscott.com/news/cbs-news-lawsuit-claims-ncaas-
academic-policies-discriminate-against-hbcus-and-black-student-
athletes/)
On April 15, 2022, CBS News’ Skyler Henry spoke with co-counsel at May Lightfoot Law and the former HBCU athlete leading the class action case. The
NCAA’s academic rules for...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                 g                     g y/blog/)
                                           y  g , Case News (https:/
                                                            ( p //www.feganscott.com/news/categor
                                                                        g                     g y/case-news/)
                                                                                                  y


3 Nov 2021 (https://www.feganscott.com/news/fortune-it-could-have-been-me-the-ncaa-must-do-more-to-protect-student-athletes-from-sexual-abuse/)


Fortune: It could have been me: The NCAA must do more to
protect student-athletes from sexual abuse
(https://www.feganscott.com/news/fortune-it-could-have-been-
me-the-ncaa-must-do-more-to-protect-student-athletes-from-
sexual-abuse/)
In a recent op-ed published by Fortune, Summer-Solstice Thomas discusses some of the consequences of the recent dismissal of our NCAA sexual assault
lawsuit, which you can ¦nd more information...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                 g                     g y/blog/)
                                           y  g , Firm News (https:/
                                                            ( p //www.feganscott.com/news/categor
                                                                        g                     g y/y ¦rm-news/)
     Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 57 of 127 PageID #:
NCAA (https:/
     ( p //www.feganscott.com/news/tag/ncaa/)
                 g                   g                        ( p //www728
                                             , Sexual assault (https:/ .feganscott.com/news/tag/sexual-assault/)
                                                                          g                   g                 , Sexual harassment
((htttps:/
 (ht tps
      pps //
          //www.fega
                feganscott.com/news/tag/sexual-har
                  g nscott.co
                           com/n
                           com/
                             m/n
                             m/       g           assment/)

                                                                                                                                                        
12 Mar 2020 (https://www.feganscott.com/news/3-former-track-athletes-suing-ncaa-coach-over-alleged-abuse/)
(https://www.feganscott.com/)

3 former track athletes suing NCAA, coach over alleged abuse
(https://www.feganscott.com/news/3-former-track-athletes-suing-
ncaa-coach-over-alleged-abuse/)
By: Larry Lage, Associated Press Á ANN ARBOR, Mich. (AP) — Former Olympic high jumper Erin Aldrich planned to die with a secret she kept quiet for two-
plus decades: an...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y


20 Jan 2021 (https://www.feganscott.com/news/2020-in-review-the-cases-and-causes-that-changed-us/)


2020 in Review: The Cases and Causes that Changed Us
(https://www.feganscott.com/news/2020-in-review-the-cases-and-
causes-that-changed-us/)
...Athletics In March, three former student-athletes came forward to share stories of abuse against the National Collegiate Athletics Association (NCAA),
the NCAA Board of Governors, and John Rembao, the former...

Firm News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/y ¦rm-news/)


(https://www.feganscott.com/hbcu-student-athletes/)




24 Jan 2022 (https://www.feganscott.com/hbcu-student-athletes/)
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 58 of 127 PageID #:
                                           729
HBCU
HB
 BCU Case
        e (https://www.feganscott.com/hbcu-student-athletes/)
Was you
     your
        ur Athletic
           Athletic Career Impacted
                           Imp      by the NCAA? Unfair postseason bans may have damaged the athletic careers of many HBCU student athletes. We 
(https://www.feganscott.com/)
believe the NCAA mandates are discriminatory. You...


11 Mar 2020 (https://www.feganscott.com/news/track-and-¦eld-coach-john-rembao-accused-of-sexual-harassment-abuse-in-lawsuit/)


Track and Field Coach John Rembao Accused of Sexual
Harassment, Abuse in Lawsuit
(https://www.feganscott.com/news/track-and-field-coach-john-
rembao-accused-of-sexual-harassment-abuse-in-lawsuit/)
By: Mike Chiari, Bleacher Report Á Three former track and ¦eld female athletes have ¦led a class-action lawsuit against the NCAA, the NCAA board of
governors and longtime track coach...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y




                                                     1                                       2                                            3
  (https://www.feganscott.com/?        (https://www.feganscott.com/?        (https://www.feganscott.com/page/2/?         (https://www.feganscott.com/page/3/?
             s=ncaa)                              s=ncaa)                                  s=ncaa)                                      s=ncaa)




                                                                 (https://www.feganscott.com/)

                                                                      © 2022 FeganScott

                                                      Disclaimer (https://www.feganscott.com/disclaimer/)

                                                                                    
                                                                        (h     (h     (h
                                                                        tt     tt     tt
                                                                        p      p      p
                                                                        s:     s:     s:
                                                                        //     //     //
                                                                        w       t     w
                                                                        w      wi     w
                                                                        w.     tt     w.
                                                                        fa     er      li
                                                                         c     .c     n
                                                                        e      o       k
                                                                        b      m      e
                                                                        o      /F     di
                                                                        o      e      n.
                                                                        k.     g       c
                                                                         c      a     o
                                                                        o      n      m
                                                                        m      S      /c
                                                                        /f      c     o
     Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 59 of 127 PageID #:
                                          730
                                        e    ot   m
                                        g    tL   p
                                                                                         
(https://www.feganscott.com/)
                                        a    a     a
                                        ns   w)    n
                                        c         y/
                                        ot        fe
                                        tl        g
                                        a          a
                                        w         ns
                                        /)         c
                                                  ot
                                                   tl
                                                   a
                                                  w
                                                  /a
                                                  b
                                                  o
                                                  ut
                                                  /)
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 60 of 127 PageID #:
                                           731

                                                                                                                                                     
(https://www.feganscott.com/)




                                                                   Search Results



                                                     All Results            ncaa




13 Mar 2022 (https://www.feganscott.com/news/statement-from-feganscott-and-lieff-cabraser-regarding-actions-today-by-university-of-san-francisco/)


Statement from FeganScott and Lieff Cabraser Regarding Actions
Today by University of San Francisco
(https://www.feganscott.com/news/statement-from-feganscott-
and-lieff-cabraser-regarding-actions-today-by-university-of-san-
francisco/)
...the damages caused not just by the coaches but by their own shocking lack of oversight.This is yet another example of what happens because the NCAA
disavows responsibility to its...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                 g                     g y/blog/)
                                           y  g , Case News (https:/
                                                            ( p //www.feganscott.com/news/categor
                                                                        g                     g y/case-news/)
                                                                                                  y


28 Jan 2022 (https://www.feganscott.com/news/feganscott-founding-partner-elizabeth-a-fegan-named-illinois-super-lawyer-for-sixth-year/)


FeganScott Founding Partner Elizabeth A. Fegan Named Illinois
Super Lawyer for Sixth Year
(https://www.feganscott.com/news/feganscott-founding-partner-
elizabeth-a-fegan-named-illinois-super-lawyer-for-sixth-year/)
...abuse and harassment, leading sex tra¨cking claims against disgraced movie mogul Harvey Weinstein as well as abusive NCAA coaches. She is also
leading class action lawsuits against corporate giants like...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                     g                   g y/blog/)
                                              y    g , Firm News (https:/
                                                                 ( p //www.feganscott.com/news/categor
                                                                                g                    g y/
                                                                                                        y ¦rm-news/)
Attorneyy Awards (https:/
                 ( p //www.feganscott.com/news/tag/att
                             g                      g orney-awar
                                                             y     ds/), Awards (https:/
                                                                                ( p //www.feganscott.com/news/tag/awar
                                                                                            g                   g       ds/), Beth Fegan
                                                                                                                                       g
(https:/
    p //www.feganscott.com/news/tag/beth-f
               g                  g       egan/)
                                            g    , Super
                                                      p Lawyyers (https:/
                                                                 ( p //www.feganscott.com/news/tag/super-lawy
                                                                                g                 g p        yers/), T
                                                                                                                     Topp Illinois Attorneyy
(https:/
    p //www.feganscott.com/news/tag/t
               g                  g op-illinois-att
                                      p             orney/)
                                                        y


9 Dec 2019 (https://www.feganscott.com/elizabeth-fegan/)


Elizabeth Fegan (https://www.feganscott.com/elizabeth-fegan/)
       Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 61 of 127 PageID #:
                                                                            732
...$1 billion for her clients nationwide. “Ms. Fegan demonstrated to me during her work in the NCAA Student-Athlete Concussion MDL that she is very
asstuute
aastute,
      te,, hard-working
           harrd-
           ha  d-wo
                  work
                    rkin
                      ingg and,
                           and, perhaps
                                pe      most important...
                                                                                                                                                                
(https://www.feganscott.com/)
9 Dec 2019 (https://www.feganscott.com/timothy-scott/)


Timothy Scott (https://www.feganscott.com/timothy-scott/)
...arbitration and trial experience Dozens of discrimination cases settled before the EEOC and IDHR Completed more than 20 marathons NCAA Wrestler
Member of the Northern District of Illinois Trial Bar...


21 Feb 2020 (https://www.feganscott.com/news/founding-partner-elizabeth-a-fegan-named-an-illinois-super-lawyer/)


Founding Partner Elizabeth A. Fegan Named an Illinois Super
Lawyer (https://www.feganscott.com/news/founding-partner-
elizabeth-a-fegan-named-an-illinois-super-lawyer/)
...the historic settlement with the NCAA that created a 50-year medical monitoring program to provide all current and former student-athletes with access
to state-of-the-art neuropsychological testing. Read the full article...

Firm News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/y ¦rm-news/)
Awards (https:/
       ( p //www.feganscott.com/news/tag/awar
                   g                   g     ds/)


4 Mar 2021 (https://www.feganscott.com/sports-litigation/)


Sports Litigation (https://www.feganscott.com/sports-litigation/)
...is especially quali¦ed to navigate the intricacies of NCAA, Title IX and other guidelines, ensuring that athletes are afforded the best representation and
guidance when it comes to complex, highly...


11 Mar 2020 (https://www.feganscott.com/news/prominent-track-and-¦eld-coach-john-rembao-accused-of-sexual-harassment-in-lawsuit/)


Prominent track and field coach John Rembao accused of sexual
harassment in lawsuit
(https://www.feganscott.com/news/prominent-track-and-field-
coach-john-rembao-accused-of-sexual-harassment-in-lawsuit/)
...he has coached four Olympians, 15 individual NCAA champions and 93 All-Americans. He also has been given coveted roles within USA Track and Field,
including serving as women’s high jump...

Case News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/case-news/)
                                                y


2 May 2022 (https://www.feganscott.com/news/elizabeth-fegan-recognized-in-the-american-lawyers-2022-list-of-midwest-trailblazers/)


Elizabeth Fegan Recognized in The American Lawyer’s 2022 list of
Midwest Trailblazers (https://www.feganscott.com/news/elizabeth-
fegan-recognized-in-the-american-lawyers-2022-list-of-midwest-
trailblazers/)
...and survivors of sexual assault. She has fought against corporate giants and powerful individuals, most recently the NCAA and the University of San
Francisco, both of which were named in...

Blog (https:/
     ( p //www.feganscott.com/news/categor
                 g                     g y/blog/)
                                           y  g , Firm News (https:/
                                                            ( p //www.feganscott.com/news/categor
                                                                        g                     g y/y ¦rm-news/)
      Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 62 of 127 PageID #:
                                           733
18 May
   May 22020
         020 ((http
              (https://www.feganscott.com/resources/)
                  ps:///www.fega
                             ega
                              g


Resources
R  eso   ources ((https://www.feganscott.com/resources/)
                         h
(https://www.feganscott.com/)
                                                                                                                                                                  


...From our work with the Silence Breakers in the Harvey Weinstein case to the inspiring women taking on the NCAA for failing to protect student-athletes
from sexual abuse at college...


(https://www.feganscott.com/news/feganscott-founding-partner-elizabeth-a-fegan-named-to-chicago-lawyer-and-chicago-daily-law-bulletins-top-50-
women-in-law-awards-and-lawdragon-500-leading-plaintiff-consumer-lawyer-guide/)




30 Jun 2021 (https://www.feganscott.com/news/feganscott-founding-partner-elizabeth-a-fegan-named-to-chicago-lawyer-and-chicago-daily-law-bulletins-top-50-women-in-
law-awards-and-lawdragon-500-leading-plaintiff-consumer-lawyer-guide/)


FeganScott Founding Partner Elizabeth A. Fegan Named to
Chicago Lawyer and Chicago Daily Law Bulletin’s Top 50 Women
in Law Awards and Lawdragon 500 Leading Plaintiff Consumer
Lawyer Guide (https://www.feganscott.com/news/feganscott-
founding-partner-elizabeth-a-fegan-named-to-chicago-lawyer-and-
chicago-daily-law-bulletins-top-50-women-in-law-awards-and-
lawdragon-500-leading-plaintiff-consumer-lawyer-guide/)
...Fegan leads the ¦rm on major cases surrounding sexual abuse, consumer fraud and data privacy violations, including cases against TikTok, the makers
of Roundup and Zantac, and the NCAA. Recently,...

Firm News (https:/
          ( p //www.feganscott.com/news/categor
                      g                     g y/y ¦rm-news/)
     Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 63 of 127 PageID #:
                                          734
                                                       1                                   2                                      3
  (https://www.feganscott.com/page/2/?
  (htt
  (https
       pps:/
          :////w
              /www
                ww.f
                  .feg
                    egan
                     gansc
                        scotott.
                               t.co
                                 co      (https://www.feganscott.com/?    (https://www.feganscott.com/page/2/?   (https://www.feganscott.com/page/
                     s=ncaa)
                     s=nc
                     s=ncaaaa))                     s=ncaa)                              s=ncaa)                                s=ncaa)
                                                                                                                                           
(https://www.feganscott.com/)




                                                         (https://www.feganscott.com/)

                                                              © 2022 FeganScott

                                               Disclaimer (https://www.feganscott.com/disclaimer/)

                                                                         
                                                               (h    (h    (h
                                                               tt    tt    tt
                                                               p     p     p
                                                               s:    s:    s:
                                                               //    //    //
                                                               w      t    w
                                                               w     wi    w
                                                               w.    tt    w.
                                                               fa    er     li
                                                                c    .c     n
                                                               e     o      k
                                                               b     m      e
                                                               o     /F    di
                                                               o     e     n.
                                                               k.    g      c
                                                                c     a    o
                                                               o     n     m
                                                               m     S     /c
                                                               /f     c    o
                                                               e     ot    m
                                                               g     tL    p
                                                                a     a     a
                                                               ns    w)     n
                                                                c          y/
                                                               ot          fe
                                                               tl          g
                                                                a           a
                                                               w           ns
                                                               /)           c
                                                                           ot
                                                                            tl
                                                                            a
                                                                           w
                                                                           /a
                                                                           b
                                                                           o
     Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 64 of 127 PageID #:
                                          735
                                                ut
                                                /)
                                                                                         
(https://www.feganscott.com/)
  Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 65 of 127 PageID #:
                                       736



                                                                                  
01223456677789 42286

ÿ444ÿ01223456677789 42286446237
ÿ !"#
 $4ÿ3%2ÿ9ÿ21ÿ&' (ÿ4'ÿ2 )ÿ*21ÿ3%42(ÿÿ 2+7+(ÿ'44ÿ2+ÿ'74+2ÿ +42
 21ÿ,-$$ÿ9%ÿ9+'+ ÿ2ÿ+3' 2ÿ.42ÿ3%2+4ÿ9%ÿ2% 2 2ÿ9ÿ44+4ÿ+ÿ43%24)ÿ21%.
  /%.2+ ÿ21ÿ4324ÿ (ÿ322+ ÿ42( 2&21'24ÿ2ÿ%+40ÿ9%ÿ242%31+ÿ+1%+48
 21ÿ1+42%+ÿ422' 2ÿ% 2(ÿÿ34& %ÿ (+'ÿ+2%+ ÿ3%%ÿ2ÿ3%5+(ÿ''ÿ%% 2ÿ (
 9% %ÿ,-$$ÿ42( 2&21'24ÿ7+21ÿ44ÿ2ÿ422&9&21&%2ÿ %'+'ÿ (
   %341'+'ÿ242+ 8
 21ÿ422' 2ÿ'4ÿ42.'+41(ÿÿ63ÿ+''+ÿ9(ÿ9%ÿ44+ÿ%4 %18
 7 (ÿ%ÿ.2ÿ21ÿ4ÿÿ9:,ÿ01223456677784386'' &
 92.''642%6;6+(6<=>=?@<A61( &04&44+&4+2&422' 2&54& 8

                                    41%ÿ4ÿC


    B9ÿÿ7'(ÿ'+0ÿÿ9% )ÿÿ.'+ 2+ÿ4'22+ÿ7+21ÿ%ÿ9+%)ÿ3' 4ÿ''
    4ÿ2ÿ?>48<=>8<?<3ÿ%ÿ3'2ÿ21ÿ9%ÿ.'7ÿ (ÿ7 ÿ7+''ÿ 2ÿ.0ÿ2ÿ
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 66 of 127 PageID #:
  ÿ !                         737



   "#$%&ÿ()*+
  ,ÿ !
    -)%&ÿ()*+
  . /ÿ011!
   2*)#3ÿ455$+%%
  6789!ÿ: ;!
    <=>?+ÿ(@*A+$
  B!C!
   D+%%)E+


        MNOÿQRSÿTÿFRURS       FGHIJKHLI
                              JFVWTXYÿZÿKGFO[


     \:; 




                           01223456677789 42286
                                 ÿÿ 22ÿ
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 67 of 127 PageID #:
                  0123451678ÿ 27523 36123451678
                                     738


                                 

                                  2
                                   
                                     2
                                      
                                       2
                                         
                                          
                                  
                                   1  
                                      
                                 5 78 41
                                   3
                                   7  
                                      3
                                        
                                         
                                   
                                     6
                                      
                                        7
                                        1
                                    7 
                                 3 5 3
                                      6
                                 6 3 3
                                   7
                                     6
                                   5  5
                                 32 5
                                 4 7
                                   5
                                   325
                                        
                                             01
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 68 of 127 PageID #:
                                     739

                                             2
                                             3
                                            452
                                             6
                                            7480
    Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 69 of 127 PageID #:
                                         740


                                                                                                             
(https://www.feganscott.com/)




CBS News: Lawsuit claims NCAA’s academic policies
discriminate against HBCUs and Black student-athletes
Written by: Jaime Conlan (https://www.feganscott.com/news/author/jaime/)                                04/18/2022




On April 15, 2022, CBS News’ Skyler Henry spoke with co-counsel at May Lightfoot Law
(https://www.maylightfootlaw.com/) and the former HBCU athlete leading the class action case
(https://www.feganscott.com/hbcu-student-athletes/).Á

The NCAA’s academic rules for student-athletes are the subject of a proposed class action civil rights lawsuit
claiming the policies for deciding which teams get penalized for poor academics discriminate against Black
student-athletes and those at Historically Black Colleges and Universities.
    Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 70 of 127 PageID #:
                                                    741
Click here for more of the coverage (https://www.cbsnews.com/video/lawsuit-claims-ncaas-academic-
ppolicies-discriminate-against-hbcus-and-black-student-athletes/#x).
  oliiciees-discriminate-aagainn
                                                                                                    
(https://www.feganscott.com/)




    Share this article
     (https://www.facebook.com/sharer/sharer.php?
    u=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fcbs-news-lawsuit-
    claims-ncaas-academic-policies-discriminate-against-hbcus-and-black-
    student-athletes%2F)
      (https://twitter.com/intent/tweet?
     url=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fcbs-news-
     lawsuit-claims-ncaas-academic-policies-discriminate-against-hbcus-and-
     black-student-athletes%2F)
      (https://www.linkedin.com/shareArticle?
     mini=true&url=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fcbs-news-
     lawsuit-claims-ncaas-academic-policies-discriminate-against-hbcus-and-black-
     student-
     athletes%2F&source=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fcbs-
     news-lawsuit-claims-ncaas-academic-policies-discriminate-against-hbcus-and-
     black-student-athletes%2F)
      (mailto:?
     body=https%3A%2F%2Fwww.feganscott.com%2Fnews%2Fcbs-news-
     lawsuit-claims-ncaas-academic-policies-discriminate-against-hbcus-and-
     black-student-athletes%2F)




Categories
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 71 of 127 PageID #:
                                        742
Blogg (https:/
      ((https://www.feganscott.com/news/category/blog/)
           p //www
              //   .fega
                      gans

Case
C ase N
      News
        ews ((https://www.feganscott.com/news/category/case-news/)
              https://www.                                                             
(https://www.feganscott.com/)
Firm News (https://www.feganscott.com/news/category/¦rm-news/)




                                     (https://www.feganscott.com/)
                                           © 2022 FeganScott

                            Disclaimer (https://www.feganscott.com/disclaimer/)

                                                      
                                            (h    (h    (h
                                            tt    tt    tt
                                            p     p     p
                                            s:    s:    s:
                                            //    //    //
                                            w      t    w
                                            w     wi    w
                                            w.    tt    w.
                                            fa    er     li
                                             c    .c    n
                                            e     o      k
                                            b     m     e
                                            o     /F    di
                                            o     e     n.
                                            k.    g      c
                                             c     a    o
                                            o     n     m
                                            m     S     /c
                                            /f     c    o
                                            e     ot    m
                                            g     tL    p
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 72 of 127 PageID #:
                                        743
                                    a a a
                                    ns w) n
                                                                                       
(https://www.feganscott.com/)
                                    c     y/
                                    ot    fe
                                    tl    g
                                    a      a
                                    w     ns
                                    /)     c
                                          ot
                                           tl
                                           a
                                          w
                                          /a
                                          b
                                          o
                                          ut
                                          /)
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 73 of 127 PageID #:
                                     744




                            Exhibit A
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 74 of 127 PageID #:
                                     745

                                                                                 201 S. Main Street, Suite 400
                                                                                 South Bend, IN 46601-2130 U.S.A.
                                                                                 (574) 233-1171
                                                                                 Fax (574) 237-1125

                                                                                 www.btlaw.com

  Brian E. Casey
  Partner
  (574) 237-1285
  Brian.casey@btlaw.com




                                              April 26, 2022

  VIA ELECTRONIC MAIL

  Beth Fegan, Esq.
  FeganScott LLC
  150 S. Wacker Dr., 24th Floor
  Chicago, IL 60606

             RE:      Apparent Conflict of Interest
                      Manassa v. National Collegiate Athletic Ass'n
                      Case No. 1:20-cv-03172 (S.D. Ind.)

  Dear Beth:

          It has come to our attention that one of FeganScott’s attorneys, Ravi Sakthivel, served as
  contract counsel to the NCAA and reviewed the NCAA’s documents in this very case. Mr,
  Sakthivel was hired by the e-discovery vendor retained by the NCAA in this matter (which is the
  same vendor handling the NCAA’s e-discovery needs in FeganScott’s other lawsuits against the
  NCAA). This poses grave ethical concerns because this representation, which is imputed to
  FeganScott, at a minimum, violates Rules 1.7, 1.9, and 1.10 of the Indiana Rules of Professional
  Conduct. Though additional investigation needs to occur here, this direct adversity conflict of
  interest with an existing client is grounds for FeganScott’s disqualification in this matter (and
  perhaps FeganScott’s other litigations against the NCAA).

         As we understand it, Mr. Sakthivel appears as of this morning on the FeganScott website
  which indicates that he “join[ed] FeganScott in 2020.” See Exhibit A (Sakthivel bio on FeganScott
  website). As of now, FeganScott continues to represent that Mr. Sakthivel is a FeganScott
  attorney. Mr. Sakthivel likewise represents on his LinkedIn page as of today that he continues to
  be a FeganScott attorney. See Exhibit B.

          However, Mr. Sakthivel failed to disclose that he was a FeganScott attorney when he
  applied for a position as a contract lawyer with the NCAA's e-discovery vendor in January 2022.
  The resume that he provided the vendor failed to disclose any relationship with FeganScott at all,
  instead indicating that he worked for Robbins Geller Rudman & Dowd LLP. See Exhibit C
  (resume). Mr. Sakthivel was subsequently required to complete a conflict of interest form, which
  specifically disclosed that the client on whose behalf he would be working was the NCAA. He
  was asked specifically whether that work would create any conflict of interest. He stated that it
  would not and that, and represented that if he learned of any actual or potential conflict of interest,
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 75 of 127 PageID #:
                                     746
  Elizabeth Fegan, Esq.
  April 26, 2022
  Page 2


  he would disclose it. Mr. Sakthivel did not. See, Exhibit D (Sakthivel Completed Conflict
  Questionnaire).

           Thereafter, Mr. Sakthivel went through an onboarding process in approximately early
  March and was provided confidential attorney work product and mental impressions with respect
  to the Manassa v. NCAA matter that is currently pending in the Southern District of Indiana. Mr.
  Sakthivel reviewed the NCAA's documents for responsiveness, confidentiality, and privilege in
  this matter, and coded documents as being related to particular issues that the NCAA’s counsel
  determined in their judgment to be important, including as relating to certain case themes and
  litigation strategies. Mr. Sakthivel, according to his time entries, represented that he spent
  approximately 183 hours reviewing and coding the NCAA's documents. During that time, he
  reviewed well over 6,000 documents and had access to a substantial amount of the NCAA’s
  documents that are relevant to this case and other litigation. It is our understanding that he
  participated in a number of conference calls and/or video meetings in which attorney mental
  impressions were shared. Mr. Sakthivel ceased to be employed by the NCAA’s e-discovery
  vendor on or about April 4, 2022 without ever disclosing that he was concurrently a FeganScott
  attorney.

          This conduct is a clear violation of Rule 1.7(a) of the Indiana Rules of Professional Conduct
  which states that “a lawyer shall not represent a client if the representation involves a concurrent
  conflict of interest” which exists if “the representation of one client will be directly adverse to
  another client.” Rule 1.10(a) imputes that prohibition to any lawyer in that lawyer's firm, here
  FeganScott. Specifically, “[w]hile lawyers are associated in a firm, none of them shall knowingly
  represent a client when any one of them practicing alone would be prohibited from doing so by
  Rules 1.7, [or] 1.9.” (While the Indiana Rules apply here, the California Rules of Professional
  Conduct are substantively identical with respect to these rules. See Cal. R. Prof. Conduct 1.7(a),
  1.10). Even after Mr. Sakthivel was no longer reviewing the NCAA's documents, he (and thus
  FeganScott) remain bound by Rule 1.9(a) which states that “[a] lawyer who has formerly
  represented a client in a matter shall not thereafter represent another person in the same or a
  substantially related matter in which that person's interest are materially adverse to the interests of
  the former client unless the former client gives informed consent, confirmed in writing.”

          Mr. Sakthivel has violated Rule 1.7 and 1.9 of the Indiana Rules of Professional Conduct.
  See, e.g., Reed v. Hoosier Health Sys., Inc., 825 N.E.2d 408 (Ind. Ct. App. 2005). By imputation
  pursuant to Rule 1.10, FeganScott has violated those same rules. Id. Given the grave nature of
  the issues raised by this concurrent conflict of interest, FeganScott must withdraw from this matter.
  The NCAA also believes that your firm’s disqualification could be warranted in other litigation in
  which FeganScott has filed claims against the NCAA. 1 That will likely need to be the basis of
  discovery.



  1
   Those matters include FeganScott’s active litigations against the NCAA, and to the extent there are any appeals. In
  addition to the Manassa case, FeganScott is actively litigating the case pending in the U.S. District Court for the
  Northern District of California San Francisco Division John Doe v. the NCAA, the University of San Francisco et al.,
  Case No. 22-1559. FeganScott also represented the Plaintiff in the formerly pending case Erin Aldrich v. the NCAA,
  Case No. 5:20-cv-01733-EJD.
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 76 of 127 PageID #:
                                     747
  Elizabeth Fegan, Esq.
  April 26, 2022
  Page 3


           Therefore, we request that promptly: (1) FeganScott indicate whether it intends to withdraw
  from this matter; and (2) FeganScott initiate a litigation hold with respect to any and all documents,
  communications, correspondence or data of any kind with respect to the issues raised in this
  correspondence, including with respect to Mr. Sakthivel, and those regarding FeganScott’s
  litigation of each case against the NCAA. In the event FeganScott does not agree to withdraw in
  this matter, we will raising this issue with Magistrate Judge Dinsmore at the earliest opportunity,
  to discuss a schedule for discovery and briefing on a motion to disqualify. Be advised that the
  NCAA intends to seek attorney’s fees and costs associated with all measures taken to address this
  conflict of interest issue. Further, while the NCAA intended to make additional rolling document
  productions on Plaintiff beginning today, in protection of its interests, the NCAA will pause its
  rolling document productions until this significant conflict of interest issues is resolved.

          We can discuss this further in our scheduled telephone call today. However, we wanted to
  raise this with you as soon as we had sufficient information to do so. We look forward to speaking
  with you about this matter further.


                                                        Sincerely,

                                                        /s/ Brian E. Casey

                                                        Brian E. Casey

  CC: Counsel of Record
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 77 of 127 PageID #:
                                     748




                            Exhibit A
  Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 78 of 127 PageID #:
                                       749



                                                                                       
01223456677789 42286

                             ÿ
ÿÿÿ!"!ÿ#ÿ$%&"ÿ&ÿ'ÿ!&ÿ&!
&&!&ÿ(ÿ)")*ÿÿ'&()ÿÿ+ÿ#ÿ$%&"ÿ&
")ÿ,&(,&*ÿ)"*ÿ&!ÿ!"-,&ÿ+.




   /012ÿ45678ÿ9:;;<=>??222@A1B6C=DE;;@DEF?2<GDEC;1C;?H<IE68=?JKJK?KL?M640GN6O;:041I@4DAP
QRSÿUV21SRWÿS4ÿÿXWS9YSÿWS 4Zÿ22Y [ÿ7S21ÿRYÿ27 WRÿ[ Y4ÿ9ÿ\3YS ÿ3Y2SS ÿW78
QRSÿ Y Zÿ1S4ÿ]^YS4ÿ_2Yÿ9Yÿ21ÿ̀ SRY4S2[ÿ9ÿ21ÿaSbÿcdY ÿU1Wÿ9ÿe7ÿ71Yÿ1
\WWZÿ2ÿ21ÿ^SRY4S2[f4ÿY 7 ZÿaYWÿQ3Y4 22SÿXWSSÿ ZÿgSY2SÿXWSS8
   Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 79 of 127 PageID #:
01234ÿ678ÿ9 6ÿ7ÿ879ÿ7ÿ799 723ÿ72ÿ7929ÿÿ43876ÿ8 343ÿ3ÿ43ÿ32ÿ43631ÿ9629
                                        750

2ÿ439ÿ1ÿ9246ÿ03479ÿ4ÿ23ÿ4372ÿ3399ÿ3ÿ3743ÿ9ÿ7 3649ÿ3433ÿ
 924ÿ14ÿ23ÿ3492ÿ1ÿ76147ÿ727ÿ4!
"44ÿ2ÿ#ÿ$37 22ÿÿ%&%&ÿ7ÿ8 4'3ÿ79ÿ7ÿ92711ÿ72243ÿ14ÿ9ÿ36634ÿ7ÿ
(8ÿ8 343ÿ3ÿ 324723ÿÿ6743ÿ7473276ÿ6799ÿ72ÿ678929ÿ7ÿ769ÿ4396
8 4'3ÿ14ÿ933476ÿ76147ÿ678ÿ)49ÿ8 343ÿ3ÿ4723ÿ4376ÿ392723ÿ7'42ÿ 934
4232ÿ678ÿ7ÿ472ÿ678
7ÿ769ÿ79ÿ3*2393ÿ3*3433ÿÿ247276ÿ6376ÿ4639ÿ3ÿ79ÿ8 4'3ÿ79ÿ7ÿ6376ÿ 673
 + 34ÿ14ÿ7ÿ779ÿ47ÿ 7ÿÿ(334ÿ647ÿ7ÿ79ÿ7ÿ934ÿ6376ÿ4324ÿ14ÿ7ÿ7,
793ÿ6376ÿ-69ÿ42ÿ7ÿ93439ÿ 7
ÿ


 /0123425ÿ738
   976147
   923ÿ27239ÿ(9242ÿ429ÿ14ÿ23ÿ: 4234ÿ32476ÿ7ÿ-79234ÿ(9242ÿ1ÿ76147

 ;<=<48
   9"472ÿ678ÿ93ÿ%&&>
   9?3ÿ7ÿ8 4'3ÿÿ 77ÿ7ÿ14ÿ2433ÿ3749ÿ79ÿ7ÿ67834,6929ÿ247ÿ6376
    41399769
   9@4379434ÿ7ÿ74ÿ334ÿ1ÿ23ÿ 2ÿ097ÿA74ÿ099 72ÿ1ÿ7ÿ(3ÿBC0A0,(DE
   9Fÿ23ÿ74ÿ1ÿ23ÿG 343ÿ06ÿA74ÿ1ÿ(43249
   9G334ÿ1ÿ2ÿ23ÿ?78349ÿ6ÿ1ÿ7ÿ(3ÿ7ÿ23ÿ7ÿ(3ÿ2ÿA74ÿ099 72
   9 69ÿ7ÿ36722ÿ342)3ÿ934ÿ342)723
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 80 of 127 PageID #:
                                     751


                           01223456677789 42286
                                 ÿÿ 22ÿ
                  4 ÿ01223456677789 422864 6
                                 01 01 "01
                                  232 232 232
                                  4 5 4 5
                                  66 66 664 5
                                  7
                                  7  72  7
                                          7
                                 78   2 2 78
                                  9 8 
                                        
                                   
                                    6   8
                                  8 
                                   
                                         
                                 69  6
                                     2!23
                                   47   # 6
                                 22 9
                                  0 0
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 81 of 127 PageID #:
                                     752

                                 123 465
                                     7898
                                      0
                                      1
                                     20
                                      78
                                      23
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 82 of 127 PageID #:
                                     753




                             Exhibit B
         Case
4/25/22, 6:09 PM 1:20-cv-03172-RLY-MJD    Document 101-1      Filed 05/23/22
                                                        Ravi Sakthivel | LinkedIn Page 83 of 127 PageID #:
                                                      754
        Emails aren’t getting through to one of your email addresses. Please update or confirm your
        email. More info

                                                                                         Home       My Network   Jobs




                       Ravi Sakthivel · 2nd
                       Staff Attorney at FeganScott

                               FeganScott

                               University of the Pacific - McGeorge School of Law
                       San Diego County, California, United States · Contact info

                       500+ connections

                                1 mutual connection: Evan J. Law


                           Connect            More




                       About
                       California Licensed Attorney with 12+ years of experience practicing law in both the
                       public and private sectors. Motivated self-starter focused on case management,
                       research, and document review.




                       Activity
                       15,447 followers

                              Follow


                       Ravi hasn't posted lately

https://www.linkedin.com/in/ravi-sakthivel/                                                                             1/6
         Case
4/25/22, 6:09 PM 1:20-cv-03172-RLY-MJD    Document 101-1      Filed 05/23/22
                                                        Ravi Sakthivel | LinkedIn Page 84 of 127 PageID #:
                                                      755
        Emails aren’t getting through to one of your email addresses. Please update or confirm your
        email. More info

                                                                                             Home      My Network   Jobs
                       Experience
                                    Staff Attorney
                                    FeganScott
                                    2020 - Present · 2 yrs 4 mos


                                    Staff Attorney
                                    Robbins Geller Rudman & Dowd LLP · Full-time
                                    2019 - 2020 · 1 yr
                                    San Diego, CA, United States

                                    - Reviewed documents and analyzed content for responsiveness to requests
                                    for production, advancing to the QC team and the privilege revie …see more


                                    Document Review Attorney
                                    TCDI · Contract
                                    2017 - 2020 · 3 yrs
                                    Greater San Diego Area

                                    -Conducted search queries of multi-million page databases to perform fact
                                    investigations, prepare for witness depositions, and to respond to…see more


                                    Managing Director
                                    Imagine Reporting · Full-time
                                    2018 - 2019 · 1 yr
                                    San Diego, California

                                    - Manage all contract drafts, reviews, and negotiations with customers,
                                    suppliers, and vendors.


                                    Document Review Attorney
                                    Catalyst Repository Systems · Contract
                                    2017 - 2018 · 1 yr
                                    Greater Denver Area

                                    - Analyzed complex legal documents including emails, contracts,
                                    spreadsheets and other financial documents


                                                      Show all 11 experiences



                       Education
                                    University of the Pacific - McGeorge School of Law
https://www.linkedin.com/in/ravi-sakthivel/                                                                                2/6
         Case
4/25/22, 6:09 PM 1:20-cv-03172-RLY-MJD    Document 101-1      Filed 05/23/22
                                                        Ravi Sakthivel | LinkedIn Page 85 of 127 PageID #:
                                                      756
        Emails aren’t getting through to one of your email addresses. Please update or confirm your
        email. More info

                                                                                           Home       My Network   Jobs




                       Licenses & certifications
                                    License to Practice Law
                                    State Bar of California
                                    Issued Jun 2008 · No Expiration Date
                                    Credential ID 256327

                                       Show credential


                                    Registered Process Server
                                    County of San Diego
                                    Issued Jun 2018 · Expired Jun 2020
                                    Credential ID 3306


                                    Relativity Certified User
                                    Relativity




                       Skills
                       Legal Writing · 23

                              Endorsed by Jeremy M. Evans who is highly skilled at this



                       Legal Advice · 22


                       Legal Research · 19

                              Endorsed by Jeremy M. Evans and 1 other who is highly skilled at this


                                                         Show all 27 skills



                       Organizations
                       McGeorge Alumni Board of Directors
                       Board Member · Nov 2018 - Present


https://www.linkedin.com/in/ravi-sakthivel/                                                                               3/6
         Case
4/25/22, 6:09 PM 1:20-cv-03172-RLY-MJD    Document 101-1      Filed 05/23/22
                                                        Ravi Sakthivel | LinkedIn Page 86 of 127 PageID #:
                                                      757
        Emails aren’t getting through to one of your email addresses. Please update or confirm your
        email. More info

                                                                                                          Home   My Network   Jobs
                                                         Show all 4 organizations



                       Interests
                       Influencers            Companies            Groups           Schools


                                    Betty Liu       · 3rd
                                    Chairman and CEO at D and Z Media Acquisition Corp.
                                    744,527 followers


                                    Marshall Goldsmith              · 3rd
                                    #1 Leadership Thinker, Exec Coach, NYT Bestselling Author. Dartmouth Tuck
                                    Professor Mgmt Practice
                                    1,383,495 followers


                                                          Show all 20 influencers


                                                Promoted




                                                   Attorney Needed              Energy Law Forum
                                                         ASAP                 Interested in energy law?
                                                We need more attorneys        Join our forum on energy
                                                in your area ASAP. Apply                 law.
                                                  now for membership.



                                                      Learn more                    Learn more


                      People also viewed

                                   Carol Drolette
                                   • 3rd
                                   Mortgage Loan Originator NMLS #164730 at Curran Mortgage Inc

                                      Message

                                   Vickie Madison-Husband
                                   • 3rd+
                                   Beauty Specialist at Different Strokes Hair and Beauty Specialist
https://www.linkedin.com/in/ravi-sakthivel/                                                                                          4/6
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 87 of 127 PageID #:
                                     758




                             Exhibit &
         Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 88 of 127 PageID #:
                                              759


    RaviSakthivel
        SanDiegoCounty,California rksakthivellaw@gmail.com 925Ͳ390Ͳ9125
    
        Summary

    IamaCaliforniaLicensedAttorneyingoodstandingwhoisflexible,reliable,andselfͲmotivated.Ipracticedover5
    yearsasaprojectͲbaseddocumentreviewattorneywithextensivereviewexperienceintheinsurance,healthcare,
    complexlitigation,SEC,pharmaceuticalclassactionsandcriminalfields.Ihavesuccessfullycompletedover100
    documentreviewprojectsthathaverangedinlengthfromlessthanaweek(requiring10Ͳ12houradaytoreachthe
    deadline)tooverayearandahalf.ThoughIambasedontheWestCoastIhavesuccessfullycompleteddocument
    reviewprojectsbasedonMountain,Midwest,andEastCoasttimewithnoissues.
    

        Experience

             DocumentReviewAttorney(ProjectBased)
RobbinsGellerRudman&DowdLLP2019ͲPresent
           Ͳ Revieweddocumentsandanalyzedcontentforresponsivenesstorequestsforproduction,advancingto
           theQCteamandtheprivilegereview.
           Ͳ Guidedlegalteamandexaminedteammembers'documentanalysisforaccuracy,providing
           feedbackonimprovingproductionquality.
           Ͳ Preparedprivilegelog,preservingattorneyͲclientandworkproductprivilege.
             

             DocumentReviewAttorney(ProjectBased)
TCDI2017ͲPresent
           ͲConductedsearchqueriesofmultiͲmillionͲpagedatabasestoperformfactinvestigations,preparefor
           witnessdepositions,andtorespondtodiscoveryrequestsfromopponents.
           ͲRevieweddocumentsforrelevance,content,andprivilegebeforeproduction.
           ͲPerformedQualityControlofdocumentreviewteams.
           

             ManagingDirector
ImagineReporting2018Ͳ2019
           Ͳ Manageallcontractreviewsandnegotiationswithcustomers,suppliers,andvendors.
           Ͳ Providelegaladviceandrecommendationsonapplicablelawsandriskmitigationstrategies.
           Ͳ Interpretandanalyzecontractdocumentstoreview,evaluate,andacceptorrejectcustomerrequests.


             DocumentReviewAttorney(ProjectBased)
CatalystRepositorySystems2016Ͳ2019
           Ͳ Analyzedcomplexlegaldocumentsincludingemails,contracts,spreadsheetsandotherfinancialdocuments.
           Ͳ Determinedwhichissuesappliedtoeachdocumentandcodedthedocumentsaccordingly.
           Ͳ Reviewedanddeterminedifthedocumentwasresponsivetotheissuesinthecaseanddeterminedif
           anytypeofattorneyͲclientprivilegeapplied.

    Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 89 of 127 PageID #:
                                         760

    DocumentReviewAttorney(ProjectBased)
Epiq2016Ͳ2019
     Ͳ Conductedadvancedandlastpassprivilegereview.
     Ͳ UtilizedRelativitytoscandocumentsforstatementsagainstinterest.
     Ͳ Assistedinpreparingdocumentsforproduction.
     Ͳ Revieweddocumentsproducedbyopposingcounselforcontent,relevanceandimportance.


    LegalComplianceOīicer
ArcanaInc.2016Ͳ2017
     Ͳ Ledthelegalreviewofassignmentprovisionsduringacorporaterestructuretomitigatelegalrisk.
     Ͳ Reviewedandnegotiatedmasterservice,professionalservices,andso warelicensingagreements.
     Ͳ Researchedandupdatedthecompanyprivacypolicytocomplywithrecentregulatorychanges.
     Ͳ IncreaseddocumentrevieweīiciencybydevelopingandimplementinganewEͲSignatureprocedure.


    SeniorLegalDirector
TransLegal2014Ͳ2016
     Ͳ Designed&implementedlegalstrategiestomeetgoals&supportbusinessobjectivesattheexecutiveͲ
       level.
     Ͳ Analyzedlegalprocessesandprocedurestoidentifyareasofimprovementanddevelopupdatesto
       increaseoperationaleīiciency,productivity,andquality.
     Ͳ Dra edandnegotiatedcomplexandhighͲriskcontractsasahandsͲonleader.


    SeniorManagingAttorney
Camacho&Associates2012Ͳ2014
     Ͳ ManagedlandacquisitionandcellulartowerleasesforVerizonWireless,TMobile&AT&T.

    StaīAttorney
Choe,Jackson&Weitz2009Ͳ2012
     Ͳ Litigatedforeclosuredefense,unlawfuldetainer,&bankruptcycasesinCAandFederaljurisdictions.

    AssociateAttorney
Hastings&Grewal2007Ͳ2009
     Ͳ LedFederalImmigrationLawcasemanagement.Dra legalmemoranda,performedlegal&case
       research,andrepresentedpetitionersinAsylumHearingsandCitizenshipInterviews.

Education

    UniversityofthePacificͲMcGeorgeSchoolofLaw
DoctorofLaw(J.D.),Law

    UniversityofCalifornia,SantaCruz
BachelorofArts(B.A.),History


    Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 90 of 127 PageID #:
                                         761

Licenses&Certifications

     RegisteredProcessServerͲCountyofSanDiego
IssuedJun2018ͲExpiresJun20203306

     LicensetoPracticeLawͲStateBarofCalifornia
256327

     RelativityCertifiedUser–Relativity

Skills
Litigation•LegalResearch•CivilLitigation•LegalWriting•LegalAdvice•Courts•LegalAssistance•
PersonalInjury•Westlaw•Arbitration
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 91 of 127 PageID #:
                                     762




                             Exhibit '
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 92 of 127 PageID #:
                                     763



                                         EXHIBIT A
              Description of Services/Compensation/Expenses/Conflict of Interest


  Services to be provided by Contractor:

  Review, analysis, DQGcoding of documents provided to Proteus by Proteus’ Client,
  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB.
  The National Collegiate Athletic Association ("NCAA")

  Term of Agreement: Approx. ZHHNV depending on volume of documents.

  Confidential Information (as defined in Section 2.l of the Independent Contractor
  Agreement) may be utilized: (Check boxes as applicable, and set forth details as desired in
  space provided)

  []     Only at Proteus' business premises

  [X]    At Contractor's premises provided that appropriate confidentiality procedures and
  arrangements are observed

  []     Other: Given the investigation related concerns of this project, Proteus’ Client requires
  confidentiality including downloading documents only to Proteus’ Computers. As such, this
  review should occur at Proteus.

  Compensation

  Proteus shall pay Contractor Twenty-)LYH Dollars per hour ($2.00/hour) for work performed by
  Contractor to complete Services (as that term is defined in the Independent Contractor Agreement),
  which shall be due and payable to Contractor bi-weekly on or before the 16th day and first day of
  each month.

  Expenses

  Contractor is responsible for his or her own expenses unless Contractor receives prior written
  approval from an officer of Proteus that an expense is reimbursable by Proteus. Notwithstanding
  the foregoing provision, Proteus agrees to reimburse Contractor for the following expenses:

  NONE

  Conflict of Interest

  After conducting an independent analysis of past and current clients, Contractor represents and
  warrants that Contractor has no business, professional, personal or other interest, including, but
  not limited to, the representation of other clients, that would conflict in any manner with the
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 93 of 127 PageID #:
                                     764



  performance of Contractor’s obligations under this agreement. If any actual or potential conflict
  of interest arises under this Agreement, Contractor shall immediately notify Proteus of such
  conflict in writing.


  CONTRACTOR

  Ravi Sakthivel
  CONTRACTOR (Print Name)
  Ravi Sakthivel
  &2175$&7256,*1$785(
  3/2/2022
  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  '$7(
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 94 of 127 PageID #:
                                     765




                            Exhibit A
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 95 of 127 PageID #:
                                     766                           FeganScott LLC
                                                                                      ATTORNEYS AT LAW

                                                                                      150 S. Wacker Dr., 24th Floor
                                                                                      Chicago, IL 6060g
                                                                                      312.741.1019
                                                                                      312.264.0100
                                                                                      beth@feganscott.com


                                             May 2, 2022


  VIA ELECTRONIC MAIL
  Brian Casey
  BARNES & THORNBURG LLP
  201 S. Main Street, Ste. 400
  South Bend, IN 46601

                 Re:    Manassa, et al. v. National Collegiate Athletic Association, Case No.
                        1:20-cv-03172 (S.D. Ind.)

  Dear Brian:

          I am writing in response to your letter of April 26, 2022. I unequivocally condemn the
  actions of Ravi Sakthivel. To that end, I personally filed an Attorney Misconduct Complaint
  regarding Ravi’s actions with the State Bar of California on April 27, 2022 and terminated his
  employment.

           However, because of the unique circumstances here, no attorneys at Fegan Scott LLC
  (the Firm) have received or had access to any information regarding the NCAA from Ravi, nor
  did Ravi access, or have access to, the Firm’s files relating to the NCAA in this or any other
  litigation. Accordingly, any presumption otherwise is rebuttable and should not result in the
  Firm’s disqualification as counsel for Plaintiff and the putative class.

         We would be willing to provide the following information via sworn declarations.

             A. Hiring of Ravi Sakthivel

         The Firm hired Ravi Sakthivel as a staff attorney to start on September 7, 2020. Ravi
  was hired to work full time and fully remotely from his home in California. Since his hiring, he
  has worked exclusively reviewing documents in the Zantac litigation, which documents are
  maintained by an e-discovery vendor retained by lead counsel in that litigation.

         At the time he was hired, Ravi signed an offer letter. The signed offer letter provides in
  pertinent part: “You will start in a full-time position of Staff Attorney with responsibility for
  document review. You will report directly to Elizabeth Fegan. You agree to devote your full
  business time, attention, and best efforts to the performance of your duties for the Firm.”

        In November 2021, the Firm introduced an Employee Handbook and Confidentiality
  Agreement. The Confidentiality Agreement provides in pertinent part:

                                                                                      FeganScott.com
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 96 of 127 PageID #:
                                     767
                                                                                        May 2, 2022
                                                                                             Page 2




                 During Employee’s employment, Employee will not engage in any business
                 activities, which are competitive with [the] Firm or otherwise in conflict with
                 Employee’s duties on behalf of the Firm, unless the Firm has provided its
                 consent in writing. These obligations include after hours, on weekends, and
                 during vacation time, even if only organizational assistance or limited
                 consultation is involved, whether or not Employee receives compensation
                 from the competing or conflicting entity or person.

  The Employee Handbook provides in pertinent part:

                 Situations that involve an actual or potential conflict of interest between an
                 employee’s interests and the interests of the Firm must be discussed with
                 management in order to protect the interests of both parties. It is the policy of
                 the Firm that all employees disclose any situation, which does or may involve
                 a conflict of interest between their personal interests and the interests of the
                 Firm. While it is impossible to list every circumstance that may create
                 possible conflicts of interest, the following should serve as a guide to the types
                 of activities, which may cause conflicts: * * * Outside employment anywhere,
                 directly or through an intermediary, which can or will adversely affect the
                 employee's productivity or availability, including employment by competitor.

         Ravi never disclosed to the Firm that he was employed by anyone other than Fegan Scott.
  Ravi never disclosed to the Firm that he was conducting document review outside of the firm or
  working on any cases other than as assigned by Fegan Scott.

         Moreover, the Firm openly held out Ravi as a staff attorney on its website and on Ravi’s
  LinkedIn profile. Similarly, the Firm openly lists its cases on its website. Notwithstanding, no e-
  discovery vendor ever contacted the Firm regarding Ravi or to run a conflict check relating to his
  work.

             B. Firm Systems

          Our Firm uses a document management and billing system called Clio. Within Clio, we
  can track every employee’s activity and access to each client file. The firm’s file for the
  Manassa v. NCAA litigation is matter number 2025. The Firm has pulled the report reflecting all
  activity in matter number 2025; the report reflects that Ravi never accessed the files in matter
  number 2025.

         Further, all employees are required to record their billable time contemporaneously with
  their work. As mentioned above, Ravi worked full-time on the Zantac litigation; Ravi never
  worked on the Manassa litigation and thus never billed any time to this matter.

                                                                                        FeganScott.com
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 97 of 127 PageID #:
                                     768
                                                                                      May 2, 2022
                                                                                           Page 3




             C. Firm Communications

          Since inception, the Firm’s attorneys (other than myself and Tim Scott) have worked
  fully remotely. Since his hiring, Ravi has worked fully remotely from his home in California. In
  fact, due to COVID, no one from the Firm has met Ravi in person.

         It is the Firm’s regular practice to hold firm meetings via Zoom every Friday. One Friday
  per month is an all-firm meeting. The other Friday meetings are case specific. Staff attorneys are
  only invited to and attend the all-firm meeting and the meetings in which the cases they are
  working on are scheduled for discussion.

          The focus of the firm meeting is administrative in nature. Ravi did not attend case-
  specific firm meetings unless the Zantac matter was on the agenda. We have checked the
  agendas for the case-specific meetings; they reflect that the Manassa litigation was never
  discussed during the same meeting as Zantac. Accordingly, Ravi was never present at a Firm
  meeting for any discussion regarding the NCAA litigation.

          I never communicated orally or in writing with Ravi regarding the Manassa litigation or
  the NCAA. Moreover, no other attorney has ever discussed this matter with Ravi, other than to
  invite him to a telephonic meeting which never happened.

          On April 22, 2022, Melissa Clark emailed Ravi to inquire whether he was available to
  temporarily move off of Zantac to work on document review in this litigation. She asked if he
  was available on August 26, 2022 for a call about the document review. Ravi replied that he was
  interested in moving off Zantac and was available for the call. Upon receipt of your letter on
  April 26, 2022, I immediately cancelled the document review call (which had not yet taken
  place). During these administrative scheduling communications, no one discussed any
  substantive information concerning this case or the NCAA, nor did Ravi disclose that he had
  conducted document review for the NCAA or have any information or knowledge concerning
  the NCAA. Moreover, Ravi never had access to Plaintiff’s e-discovery vendor for this litigation.

             D. Termination

         On April 26, 2022, I received your letter. I immediately placed Ravi on administrative
  leave and caused Ravi’s access to all firm systems to be shut down. I immediately directed
  Melissa Clark and Brooke Achua to preserve and send to me any communications that they had
  with Ravi concerning this litigation.

         My Co-Managing Member, Tim Scott, instructed all Fegan Scott employees to refrain
  from any communications with Ravi while an investigation was conducted.


                                                                                      FeganScott.com
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 98 of 127 PageID #:
                                     769
                                                                                      May 2, 2022
                                                                                           Page 4




          On April 27, 2022, Tim Scott and I had a telephone call with Ravi. We asked Ravi
  whether he had been engaged in any work outside the firm. He stated that he had worked with
  multiple agencies and recruiters on document review projects. We asked him to disclose which
  firms, and he agreed to send us a list.

          Although we had not shared your letter with him, he stated that he saw the letter from the
  “NAACP”’s lawyers, which we understood him to be referring to your April 26, 2022, letter. He
  stated that he had not known that Fegan Scott had a case involving the “NAACP” and thought he
  had checked all of the conflicts. We advised him that his actions were a serious breach of
  professional ethics, a violation of firm policy, and we were terminating his employment. We
  advised him that he had an obligation to preserve the firm’s laptop, and not to destroy or delete
  any information on the laptop while we arranged for the laptop to be returned to a third-party IT
  firm.1 Ravi has since advised us in writing that he did not use the Firm laptop to conduct
  document review in this litigation.
                                                *       *      *

           We request that you share with us the identity of the NCAA’s e-discovery vendor. We are
  gravely concerned with the vendor’s failure to vet the document reviewers, run a conflicts check,
  or conduct a simple Google search. We intend to hold the vendor responsible if the NCAA
  pursues this matter to litigation, the Firm incurs costs, or is disqualified from this or any other
  litigation.

      Please let us know if you have additional questions that we can answer to address the
  NCAA’s concerns.

         We reiterate our agreement that Ravi’s actions were the most serious of ethical violations
  and will continue to pursue state bar action against him. However, given the facts here, we do not
  believe that withdrawal is required.



                                               Sincerely,


                                               Elizabeth
                                               Elizabet      Fegan
                                                     etth A. Fe
                                               Managing Member




  1We have instructed the IT firm to preserve and not access the laptop. We intend to destroy it
  once this issue is resolved, but of course will not do so until we reach agreement with you or
  pursuant to Court Order.
                                                                                      FeganScott.com
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 99 of 127 PageID #:
                                     770
                                                                    May 2, 2022
                                                                         Page 5




  cc.   Timothy A. Scott
        Melissa Clark




                                                                    FeganScott.com
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 100 of 127 PageID #:
                                     771




                             Exhibit A
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 101 of 127 PageID #:
                                     772

                                                                               201 S. Main Street, Suite 400
                                                                               South Bend, IN 46601-2130 U.S.A.
                                                                               (574) 233-1171
                                                                               Fax (574) 237-1125

                                                                               www.btlaw.com

  Brian E. Casey
  Partner
  (574) 237-1285
  Brian.casey@btlaw.com




                                              April 26, 2022

  VIA ELECTRONIC MAIL

  Ravi Sakthivel, Esq.
  FeganScott LLC
  501 W. Broadway, Suite 800
  San Diego, CA 92101

             RE:      Apparent Conflict of Interest
                      Manassa v. National Collegiate Athletic Ass'n
                      Case No. 1:20-cv-03172 (S.D. Ind.)

  Dear Mr. Sakthivel:

          It has come to our attention that you served as contract counsel to the NCAA and reviewed
  the NCAA’s documents in this very case while, at the same time, you are or were an attorney at
  FeganScott, counsel for Mr. Manassa who is the plaintiff in this case. It is our understanding that
  you were hired by the e-discovery vendor retained by the NCAA in this matter (which is the same
  vendor handling the NCAA’s e-discovery needs in FeganScott’s other lawsuits against the
  NCAA). This poses grave ethical concerns because this representation, which is imputed to
  FeganScott, at a minimum, violates Rules 1.7, 1.9, and 1.10 of the Indiana Rules of Professional
  Conduct. Though additional investigation needs to occur here, this direct adversity conflict of
  interest with an existing client is grounds for FeganScott’s disqualification in this matter (and
  perhaps FeganScott’s other litigations against the NCAA).

           As we understand it, as of this morning you are identified on the FeganScott website as a
  staff attorney who “join[ed] FeganScott in 2020.” See Exhibit A (Sakthivel bio on FeganScott
  website). As of now, FeganScott continues to represent that you are a FeganScott attorney.
  Similarly, you likewise represent on your LinkedIn page as of today that you continue to be a
  FeganScott attorney. See Exhibit B.

          However, you failed to disclose that you are a FeganScott attorney when you applied for a
  position as a contract lawyer with the NCAA's e-discovery vendor in January 2022. The resume
  you provided failed to disclose any relationship with FeganScott at all, instead indicating that you
  worked for Robbins Geller Rudman & Dowd LLP. See Exhibit C (resume). You were then
  subsequently required to complete a conflict of interest form, which specifically disclosed that the
  client on whose behalf you would be working was the NCAA. You were asked specifically
  whether that work would create any conflict of interest. You stated that it would not and that, and
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 102 of 127 PageID #:
                                     773
  Ravi Sakthivel, Esq.
  April 26, 2022
  Page 2


  represented that if you learned of any actual or potential conflict of interest, you would disclose it.
  You did not. See, Exhibit D (Sakthivel Completed Conflict Questionnaire).

           Thereafter, you went through an onboarding process in approximately early March and
  were provided confidential attorney work product and mental impressions with respect to the
  Manassa v. NCAA matter that is currently pending in the Southern District of Indiana. You
  reviewed the NCAA's documents for responsiveness, confidentiality, and privilege in this matter,
  and coded documents as being related to particular issues that the NCAA’s counsel determined in
  their judgment to be important, including as relating to certain case themes and litigation strategies.
  According to your time entries, you spent approximately 183 hours reviewing and coding the
  NCAA's documents. During that time, you reviewed well over 6,000 documents and had access
  to a substantial amount of the NCAA’s documents that are relevant to this case and other litigation.
  It is our understanding that you participated in a number of conference calls and/or video meetings
  in which attorney mental impressions were shared. You ceased to be employed by the NCAA’s
  e-discovery vendor on or about April 4, 2022 without ever disclosing that you were concurrently
  a FeganScott attorney.

          This conduct is a clear violation of Rule 1.7(a) of the Indiana Rules of Professional Conduct
  which states that “a lawyer shall not represent a client if the representation involves a concurrent
  conflict of interest” which exists if “the representation of one client will be directly adverse to
  another client.” Rule 1.10(a) imputes that prohibition to any lawyer in that lawyer's firm, here
  FeganScott. Specifically, “[w]hile lawyers are associated in a firm, none of them shall knowingly
  represent a client when any one of them practicing alone would be prohibited from doing so by
  Rules 1.7, [or] 1.9.” (While the Indiana Rules apply here, the California Rules of Professional
  Conduct are substantively identical with respect to these rules. See Cal. R. Prof. Conduct 1.7(a),
  1.10). Even after you were no longer reviewing the NCAA's documents, you (and thus
  FeganScott) remain bound by Rule 1.9(a) which states that “[a] lawyer who has formerly
  represented a client in a matter shall not thereafter represent another person in the same or a
  substantially related matter in which that person's interest are materially adverse to the interests of
  the former client unless the former client gives informed consent, confirmed in writing.”

          It appears that you have violated Rule 1.7 and 1.9 of the Indiana Rules of Professional
  Conduct. See, e.g., Reed v. Hoosier Health Sys., Inc., 825 N.E.2d 408 (Ind. Ct. App. 2005). By
  imputation pursuant to Rule 1.10, FeganScott has violated those same rules. Id. The extent of
  these violations will likely need to be the basis of discovery.

         Therefore, we request that you initiate a litigation hold with respect to any and all
  documents, communications, correspondence or data of any kind with respect to the issues raised
  in this correspondence, including with respect to FeganScott, including those regarding
  FeganScott’s litigation of each case against the NCAA. We would appreciate it if you would
  acknowledge receipt of this correspondence. Thank you.
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 103 of 127 PageID #:
                                     774
  Ravi Sakthivel, Esq.
  April 26, 2022
  Page 3




                                           Sincerely,

                                           /s/ Brian E. Casey

                                           Brian E. Casey

  CC: Counsel of Record
  Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 104 of 127 PageID #:
                                       775



                                                                                       
01223456677789 42286

                             ÿ
ÿÿÿ!"!ÿ#ÿ$%&"ÿ&ÿ'ÿ!&ÿ&!
&&!&ÿ(ÿ)")*ÿÿ'&()ÿÿ+ÿ#ÿ$%&"ÿ&
")ÿ,&(,&*ÿ)"*ÿ&!ÿ!"-,&ÿ+.




   /012ÿ45678ÿ9:;;<=>??222@A1B6C=DE;;@DEF?2<GDEC;1C;?H<IE68=?JKJK?KL?M640GN6O;:041I@4DAP
QRSÿUV21SRWÿS4ÿÿXWS9YSÿWS 4Zÿ22Y [ÿ7S21ÿRYÿ27 WRÿ[ Y4ÿ9ÿ\3YS ÿ3Y2SS ÿW78
QRSÿ Y Zÿ1S4ÿ]^YS4ÿ_2Yÿ9Yÿ21ÿ̀ SRY4S2[ÿ9ÿ21ÿaSbÿcdY ÿU1Wÿ9ÿe7ÿ71Yÿ1
\WWZÿ2ÿ21ÿ^SRY4S2[f4ÿY 7 ZÿaYWÿQ3Y4 22SÿXWSSÿ ZÿgSY2SÿXWSS8
  Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 105 of 127 PageID #:
01234ÿ678ÿ9 6ÿ7ÿ879ÿ7ÿ799 723ÿ72ÿ7929ÿÿ43876ÿ8 343ÿ3ÿ43ÿ32ÿ43631ÿ9629
                                       776

2ÿ439ÿ1ÿ9246ÿ03479ÿ4ÿ23ÿ4372ÿ3399ÿ3ÿ3743ÿ9ÿ7 3649ÿ3433ÿ
 924ÿ14ÿ23ÿ3492ÿ1ÿ76147ÿ727ÿ4!
"44ÿ2ÿ#ÿ$37 22ÿÿ%&%&ÿ7ÿ8 4'3ÿ79ÿ7ÿ92711ÿ72243ÿ14ÿ9ÿ36634ÿ7ÿ
(8ÿ8 343ÿ3ÿ 324723ÿÿ6743ÿ7473276ÿ6799ÿ72ÿ678929ÿ7ÿ769ÿ4396
8 4'3ÿ14ÿ933476ÿ76147ÿ678ÿ)49ÿ8 343ÿ3ÿ4723ÿ4376ÿ392723ÿ7'42ÿ 934
4232ÿ678ÿ7ÿ472ÿ678
7ÿ769ÿ79ÿ3*2393ÿ3*3433ÿÿ247276ÿ6376ÿ4639ÿ3ÿ79ÿ8 4'3ÿ79ÿ7ÿ6376ÿ 673
 + 34ÿ14ÿ7ÿ779ÿ47ÿ 7ÿÿ(334ÿ647ÿ7ÿ79ÿ7ÿ934ÿ6376ÿ4324ÿ14ÿ7ÿ7,
793ÿ6376ÿ-69ÿ42ÿ7ÿ93439ÿ 7
ÿ


 /0123425ÿ738
   976147
   923ÿ27239ÿ(9242ÿ429ÿ14ÿ23ÿ: 4234ÿ32476ÿ7ÿ-79234ÿ(9242ÿ1ÿ76147

 ;<=<48
   9"472ÿ678ÿ93ÿ%&&>
   9?3ÿ7ÿ8 4'3ÿÿ 77ÿ7ÿ14ÿ2433ÿ3749ÿ79ÿ7ÿ67834,6929ÿ247ÿ6376
    41399769
   9@4379434ÿ7ÿ74ÿ334ÿ1ÿ23ÿ 2ÿ097ÿA74ÿ099 72ÿ1ÿ7ÿ(3ÿBC0A0,(DE
   9Fÿ23ÿ74ÿ1ÿ23ÿG 343ÿ06ÿA74ÿ1ÿ(43249
   9G334ÿ1ÿ2ÿ23ÿ?78349ÿ6ÿ1ÿ7ÿ(3ÿ7ÿ23ÿ7ÿ(3ÿ2ÿA74ÿ099 72
   9 69ÿ7ÿ36722ÿ342)3ÿ934ÿ342)723
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 106 of 127 PageID #:
                                     777


                           01223456677789 42286
                                 ÿÿ 22ÿ
                  4 ÿ01223456677789 422864 6
                                 01 01 "01
                                  232 232 232
                                  4 5 4 5
                                  66 66 664 5
                                  7
                                  7  72  7
                                          7
                                 78   2 2 78
                                  9 8 
                                        
                                   
                                    6   8
                                  8 
                                   
                                         
                                 69  6
                                     2!23
                                   47   # 6
                                 22 9
                                   0 0
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 107 of 127 PageID #:
                                     778

                                  123 465
                                      7898
                                       0
                                       1
                                      20
                                       78
                                       23
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 108 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       779




https://www.linkedin.com/in/ravi-sakthivel                                                                               1/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 109 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       780




https://www.linkedin.com/in/ravi-sakthivel                                                                               2/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 110 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       781




https://www.linkedin.com/in/ravi-sakthivel                                                                               3/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 111 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       782




https://www.linkedin.com/in/ravi-sakthivel                                                                               4/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 112 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       783




https://www.linkedin.com/in/ravi-sakthivel                                                                               5/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 113 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       784




https://www.linkedin.com/in/ravi-sakthivel                                                                               6/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 114 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       785




https://www.linkedin.com/in/ravi-sakthivel                                                                               7/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 115 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       786




https://www.linkedin.com/in/ravi-sakthivel                                                                               8/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 116 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       787




https://www.linkedin.com/in/ravi-sakthivel                                                                               9/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 117 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       788




https://www.linkedin.com/in/ravi-sakthivel                                                                               10/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 118 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       789




https://www.linkedin.com/in/ravi-sakthivel                                                                               11/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 119 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       790




https://www.linkedin.com/in/ravi-sakthivel                                                                               12/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 120 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       791




https://www.linkedin.com/in/ravi-sakthivel                                                                               13/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 121 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       792




https://www.linkedin.com/in/ravi-sakthivel                                                                               14/15
4/22/22, Case
         3:05 PM   1:20-cv-03172-RLY-MJD Document   101-1
                                             Ravi Sakthivel - StaffFiled   05/23/22
                                                                    Attorney                 Page 122 of 127 PageID #:
                                                                             - FeganScott | LinkedIn
                                                       793




https://www.linkedin.com/in/ravi-sakthivel                                                                               15/15
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 123 of 127 PageID #:
                                     794




              
    
     
    !"!

  # $ %  &  ' &  &  $ ()  )  & $  &#
  *  & !' *+  ) &&,         '  (           (*  
       ,     * (    -*  ,      &  $ &
  #  , $, '*       & &,      *+        &       $ 
       . /,  ,&'        & &  0  '  &  $1 , #
  ) &      2   #  , $, '*      &&,       *+  ) & 3,  
  3&   &-      , 


  2-(*          

              
  )) 4    ,& 5&%%6
  7 ,' 6 
  8   &&,       &  '9 &    $ *        /,  $*&,  &  
      :  &      *    
  84,& &    & ( &  ) <&,              '$,'*& $ &)
   * *&,  /,  '
  86 * &*   *     '     &*&, *  

              
  -*/
  7, '= 6 
  8 &, &&  & &  **    
  8>  9 &   '  &,    $          
  8 & * * &,     $*&,  
  8   &&,       *&, &)'** ,  $            &*   

              
  -*/ ,  
  7 ,'= 6 
   &, &  /,  $,   * & )  * $$      * * $
      & *   &  * & & ' /,  $**      
     &&,       $           &*  ) $ *&,  
  6 $ &:,  '  $&,          

           
  #  *  
  7 ,'   ) 
  83        &        ,  ,**   & &
  86&   &  &     &   ** )   &        
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 124 of 127 PageID #:
                                     795


  8#   *    &  '9     &,           ,    & *  +  ,   /,  

                
    '  * '' 
  7 ,'?   ) 
  8   '9 & * (   &,         ,&       * &      &     $  
  &,     
  8     &  , **  &   &,        && &   &,    &  '
  8   & &&     &$   &,        *     ,      &&      &$
   ' '* $  '    *  **  &

     ! 
   # 
  7 ,'?   ) =
  8% &       $    * &, *   , ,      
  8   & &   &   *$      &@                
  8   & &,*& &       * '*'* ' * '       ,  '   
  8#   &&,       A ')'&  *  &*           
  -  , * &, 

  "      
  1 % 
  7 ,'B   ) ?
  8  &5*         &             5,** ), )+        ( ,  
      
  8   '9 &   *    & * &,   &   $'   $ *    & &  * ,*&  
     *     A '*&,  ' &/,  '
  8@ & &   &* ( &      &  & 

  "               
   5 
  7 ,'   ) B
  83  &  &/,   &    ,     $C 9 2        1
  3) 5151

  " !  
    7 52  9
  7 ,'   ) 
  8%  &$  , & $     , $, &       5) ,* '   &
  D &  +,&  

      
  E  54 
  7 ,'=   ) 
  8 % & D &   #   %         @     & * $ &            5 
      & *        &*    ' ,E   &
   9  *#       
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 125 of 127 PageID #:
                                     796



  -&, 

   #$%%           
  >   '$      6$34    $%

  &#           %%'(  
  >   '$ $     ,9


   
  F %  
  F %    
  F  %  
  F %  2  
  F %  &
  F , 
  F %    
  F 6   # +,'
  F 2  
  F )  


    $   &%             

      " 

       #"  )$ *+,-

  ./ $ *+*+00+1    

  "  # #            *210*3             # 4

             
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 126 of 127 PageID #:
                                     797



                                         EXHIBIT A
              Description of Services/Compensation/Expenses/Conflict of Interest


  Services to be provided by Contractor:

  Review, analysis, DQGcoding of documents provided to Proteus by Proteus’ Client,
  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB.
  The National Collegiate Athletic Association ("NCAA")

  Term of Agreement: Approx. ZHHNV depending on volume of documents.

  Confidential Information (as defined in Section 2.l of the Independent Contractor
  Agreement) may be utilized: (Check boxes as applicable, and set forth details as desired in
  space provided)

  []     Only at Proteus' business premises

  [X]    At Contractor's premises provided that appropriate confidentiality procedures and
  arrangements are observed

  []     Other: Given the investigation related concerns of this project, Proteus’ Client requires
  confidentiality including downloading documents only to Proteus’ Computers. As such, this
  review should occur at Proteus.

  Compensation

  Proteus shall pay Contractor Twenty-)LYH Dollars per hour ($2.00/hour) for work performed by
  Contractor to complete Services (as that term is defined in the Independent Contractor Agreement),
  which shall be due and payable to Contractor bi-weekly on or before the 16th day and first day of
  each month.

  Expenses

  Contractor is responsible for his or her own expenses unless Contractor receives prior written
  approval from an officer of Proteus that an expense is reimbursable by Proteus. Notwithstanding
  the foregoing provision, Proteus agrees to reimburse Contractor for the following expenses:

  NONE

  Conflict of Interest

  After conducting an independent analysis of past and current clients, Contractor represents and
  warrants that Contractor has no business, professional, personal or other interest, including, but
  not limited to, the representation of other clients, that would conflict in any manner with the
Case 1:20-cv-03172-RLY-MJD Document 101-1 Filed 05/23/22 Page 127 of 127 PageID #:
                                     798



  performance of Contractor’s obligations under this agreement. If any actual or potential conflict
  of interest arises under this Agreement, Contractor shall immediately notify Proteus of such
  conflict in writing.


  CONTRACTOR

   Ravi Sakthivel
  CONTRACTOR (Print Name)
   Ravi Sakthivel
  &2175$&7256,*1$785(
  3/2/2022
  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
  '$7(
